 

033919-11962 Doci Fiied 02/15/19 Page \QEY/\ \C§ §§ 1

Fi|l in this information to identify your case:

   

United States Bankruptcy Court for the:
District of Mar land

§
§ §
§ §

§
§ §
f Case number (/rknawn): Chapter you are Hling under: §
§ N chapter7 §
§ §
§ §
§ §
§ §
i

 

n Chapter11 _ t `
El Chapter12 ' ,r-`;:__ '§: _ _ _
Ei chapteris iiti§:§i~~%‘" l;l Check if this is an

amended filing

 

official Form 101 ML;@/ j 0 § 0 g <`/\ 5 <Q\@~ ab

Voluntary Petition for lndividua|s Filing for Bankruptcy 12/11

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together-called a
joint casewand in joint cases, these forms use you to ask for information from both debtors. For examp|e, if a form asks, “Do you own a car,”
the answer would be yes it either debtor owns a car. When information is needed about the spouses separate|y, the form uses Debtor 1 and
Debtor2to distinguish between them. |n joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 1 in all of the forms.

Be as complete and accurate as possible. lf two married people are filing together, both are equally responsible for supplying correct
information. lf more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

m ldentify Yourself

 

 

 

 

 

 

 

 

 

 

 

 

About Debtor 1: About Debtor 2 (Spouse On|y in a Joint Case):
1. Your full name
Write the name that is on your
govemment-issued picture |_`Ourdes _
identification (for example, F"`st "a_me F"st name
your driver’s license or Mal'la
passport). Middle name Middle name
Bring your picture Nunez
identification to your meeting Last name Lan name
with the trustee.
Surnx (Sr., Jr., ll, iii) Suffix(Sr., Jr., ll, lli)
2. All other names you N/A
have used in the last 8 First name Fi,$t name
years
|nc|ude your married or Middle name Middle name
maiden names.
Last name Last name
First name First name
Middle name Middle name
Last name Last name
3. On|y the last 4 digits of
yourSocialSecurity XXX _ XX `4_ i l _2 XXX _ XX "_- _ _- _
number or federal oR oR
individual Taxpayer
identification number 9 XX ~ XX -___ _ _ _ 9 XX - XX -_ _ _ _
(lT|N)

 

 

 

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Cas

619-11962 DOC'l

 

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Debtor1 LOUrdeS Mal'ia NUneZ Case number (irknown)
First Name Middle Name Last Name
About Debtor 1: About Debtor 2 (Spouse Oniy in a Jolnt Case):
4. Any business names

and Employer
identification Numbers
(ElN) you have used in
the last 8 years

include trade names and
doing business as names

E l have not used any business names or Ele.

a l have not used any business names or Ele.

 

Business name

Business name

 

Business name

'EN_

H_

Business name

J\i`_

EN_

 

 

5. Where you live

15210 Johnstone Lane

 

if Debtor 2 lives at a different address:

 

 

 

 

Number Street Number Street
Bowie MD 2072'|

City State Z|P Code Cify State Z|P Code
Prince George's County

County County

if your mailing address is different from the one
above, fill it in here. Note that the court will send
any notices to you at this mailing address.

lt Debtor 2’s mailing address is different from
yours, fii| it in here. Note that the court will send
any notices to this mailing address.

 

 

 

 

 

 

N[A
Number Street Number Street
P.O. Box P.O. Box
City slate ziP Code City State Z|P Code
6. Why you are choosing Check one: Check one:

this district to file for
bankruptcy

M Over the last 180 days before filing this petition,
l have lived in this district longer than in any
other district.

Cl l have another reason. Expiain.
(See 28 U.S.C. § 1408.)

 

 

 

 

El Over the last 180 days before filing this petition,
l have lived in this district longer than in any
other district

n l have another reason. Expiain.
(see 28 u.s.c. § 1408.)

 

 

 

 

 

Ofticial Forrn 101

Voluntary Petition for individuals Filing for Bankruptcy

page 2

 

 

 

 

Debtor 1

Case 19-11962 Doc 1

First Name

Lourdes Maria

Middle Name

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Nunez

Case number (i¢known)

 

Last Name

mTell the Court About ¥our Bankruptcy Case

 

 

 

 

 

 

 

 

 

 

 

 

7. The chapter of the Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for lndividua/s Filing
Bankruptcy Code you for Bankruptcy(Form 2010)). Aiso, go to the top of page 1 and check the appropriate box.
are choosing to file
under E Chapter 7
Cl Chapter 11
El Chapter 12
Cl Chapter 13
a. How you will pay the fee CI i will pay the entire fee when | file my petition. Please check with the clerk’s office in your
local court for more details about how you may pay. Typically, if you are paying the fee
yourself, you may pay with cash, cashier’s check, or money order. if your attorney is
submitting your payment on your behalf, your attorney may pay with a credit card or check
with a pre-printed address.
Cl | need to pay the fee in installments. if you choose this option, sign and attach the
App/ication for lndividuals to Pay The Filing Fee in /nsta//ments (thcial Form 103A).
N l request that my fee be waived (You may request this option only if you are filing for Chapter 7.
By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
less than 150% of the official poverty line that applies to your family size and you are unable to
pay the fee in installments). if you choose this option, you must fill out the App//`cation to Have the
Chapter 7 Filing Fee Waived (Otficial Form 103B) and hle it with your petition
9. Have you filed for E No
bankruptcy within the
last 8 years? a Yes. District When Case number
Mivi/ DD /YYYY
District When Case number
Mivi/ DD/YYYY
District When Case number
MM/ DD/YYYY
10. Are any bankruptcy No
cases pending or being
filed by a spouse who is n Yes. Debtor Relationship to you
not hung th's ca_se w'th District When Case number, if known
you, or by a business MM / DD /YYYY
partner, or by an
affiliate?
Debtor Relationship to you
District When Case number, if known
iviivi / DD / YYYY
11- D°_Y°u rent your E No. Go to line 12.
res'den°e? m Yes. Has your landlord obtained an evictionjudgment against you?

Official Form 101

a No. Go to line 12.

El Yes. Fill out lnitial Statement About an Eviction Judgment Against You (Form 101A) and file it as
part of this bankruptcy petition.

Voluntary Petition for individuals Filing for Bankruptcy page 3

 

 

 

 

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Debtor1 Lourdes Maria Nunez case number umwa

First Name Middle Name Last Name

 

m Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor E No. Go to pan 4_
of any fu|l- or part-time
business? El Yes. Name and location of business

A sole proprietorship is a
business you operate as an
individual, and is not a
separate legal entity such as

ac r ration, nnershi ,or
LL(?. po pa p Number Street

 

Name of business, if any

 

if you have more than one
sole proprietorship, use a
separate sheet and attach it
to this petition.

 

 

City Sta'te Z|P Code

Check the appropriate box to describe your business:

cl Heaith Care Business (as defined in 11 U.S.C. § 101(27A))
[:l Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
m Stockbroker (as defined in 11 U.S.C. § 101(53A))

El Commodity Broker (as defined in 11 U.S.C. § 101(6))

Cl None of the above

 

 

13. Are you filing under /f you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
Chapter 11 of the can set appropriate deadlines. if you indicate that you are a small business debtor, you must attach your
Bankruptcy code and most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or if
are you a small business any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
debtoi'?

__ E No. i am not ming under chapter 11.
For a definition of small
business debtori Se€ El No. l am filing under Chapter 11, but l am NOT a small business debtor according to the definition in
11 U-S-C- § 101(51‘3)- the Bankruptcy Code.

El ¥es. l am filing under Chapter 11 and l am a small business debtor according to the definition in the
Bankruptcy Code.

m Report if You 0wn or Have Any Hazardous Property or Any Property That Needs lmmediate Attention

 

14. Do you own or have any g No
property that poses or is

 

 

alleged to pose a threat n Yes. What iS the hazard?
of imminent and
identifiable hazard to

 

public health or safety?
Or do you own any

property that needs if immediate attention is needed, why is it needed?

 

immediate attention?
For examp/e, do you own

 

perishable goods, or livestock
that must be fed, or a building
that needs urgent repairs ?

Where is the propeity?

 

 

 

Number Street
City State ZiP Code
Official Form 101 Voluntary Petition for individuals Filing for Bankruptcy page 4

 

Debtor1 Lourdes Maria

Case 19-11962 Doc 1

Nunez

First Name Middle Name Last Name

Case number (irknawn)

 

m:xplain Your Efforts to Receive a Briefing About Credit Counseling

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15. Tell the court whether
you have received a
briefing about credit
counseling.

The law requires that you
receive a briehng about credit
counseling before you file for
bankruptcy. You must
truthfully check one of the
following choices. if you
cannot do so, you are not
eligible to file.

if you file anyway, the court
can dismiss your case, you
will lose whatever filing fee
you paid, and your creditors
can begin collection activities
again.

Ochial Form 101

About Debtor 1:

You must check one:

E i received a briefing from an approved credit

counseling agency within the 180 days before i
filed this bankruptcy petition, and l received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

El l received a briefing from an approved credit

counseling agency within the 180 days before l
filed this bankruptcy petition, but i do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any.

El l certify that i asked for credit counseling

services from an approved agency, but was
unable to obtain those services during the 7
days after l made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

lf the court is satished with your reasons, you must
still receive a briefing within 30 days after you fiie.
You must file a certiicate from the approved
agency, along with a copy of the payment plan you
developed, if any. if you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

n l am not required to receive a briefing about

credit counseling because of:

El lncapacity. i have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

Cl Disabiiity. My physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the internet, even after l
reasonably tried to do so.

El Active duty. l am currently on active military
duly in a military combat zone.

if you believe you are not required to receive a
briefing about credit counseling, you must H|e a
motion for waiver of credit counseling with the court.

About Debtor 2 (Spouse Oniy in a Joint Case):

You must check one:

Cl i received a briefing from an approved credit

counseling agency within the 180 days before i
filed this bankruptcy petition, and l received a
certificate of completion.

Attach a copy of the certihcate and the payment
plan, if any, that you developed with the agency.

El l received a briefing from an approved credit

counseling agency within the 180 days before l
filed this bankruptcy petition, but i do not have a
certificate of completion.

V\hthin 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any.

|:l i certify that i asked for credit counseling

services from an approved agency, but was
unable to obtain those services during the 7
days after i made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

if the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. if you do not do so, your case
may be dismissed

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

Cl | am not required to receive a briefing about

credit counseling because of:

n lncapacity. l have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

l:l Disabiiity. My physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the internet, even after l
reasonably tried to do so.

n Active duty. l am currently on active military
duty in a military combat zone.

if you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

Voluntary Petition for individuals Filing for Bankruptcy page 5

 

 

 

Case 19-11962 Doc 1

Debtor1 Lourdes Maria

First Name Middle Name

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Nunez

Last Name

Case number (irknown)

mswer These Questions for Reporting Purposes

 

16. What kind of debts do
you have?

16a. Are your debts primarily consumer debts? Consumer debts are denned in 11 U.S.C. § 101(8)
as “incurred by an individual primarily for a personal, family, or household purpose.”

El No. Go io line 16b.
E Yes. Go to line 17.

16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
money for a business or investment or through the operation of the business or investment.

n No. Go to line 16c.
El Yes. Go to line 17.

160. State the type of debts you owe that are not consumer debts or business debts.

 

 

17. Are you filing under
Chapter 7?

Do you estimate that after
any exempt property is

cl No. l am not hling under Chapter 7. Go to line 18.

Yes. l am iiing under Chapter 7. Do you estimate that after any exempt property is excluded and
administrative expenses are paid that funds will be available to distribute to unsecured creditors?

 

 

excluded and m NO
administrative expenses
are paid that funds will be n Ye$
available for distribution
to unsecured creditors?
1a. How many creditors do 8 1-49 Cl 1,000-5,000 Cl 25,001-50,000
you estimate that you EJ 50-99 El 5,001-10,000 El 50,001-100,000
°We? El 100-199 El 10,001-25,000 El lvlore than 100,000
El 200-999
19. How much do you E $0-$50,000 El $1,000,001-$10 million Cl $500,000,001-$1 binion

estimate your assets to
be worth?

20. How much do you
estimate your liabilities
to be?

El $50,001-$100,000
El $100,001-$500,000
El $500,001-$1 million

El $0-$50,000
$50,001-$100,000
El $100,001-$500,000
El $500,001-$1 million

El $10,000,001-$50 million
Cl $50,000,001-$100 million
Ci $100,000,001-$500 million

El $1,000,001-$10 million

Cl $10,000,001-$50 million
Cl $50,000,001-$100 million
El $100,000,001-$500 million

El $1,000,000,001-$10 billion
El $10,000,000,001-$50 billion
E] More than $50 billion

El $500,000,001-$1 billion

Cl $1,000,000,001-$10 billion
El $10,000,000,001-$50 billion
El lvlore than $50 billion

 

For you

Ofncial Form 101

l have examined this petition, and l declare under

correct.

if i have chosen to file under Chapter 7, l am aware that l may proceed,
of title 11, United States Code. l understand the relief available under e

under Chapter 7.

lf no attorney represents me and l did not
this document, l have obtained and read t

penalty of perjury that the information provided is true and

if eligible, under Chapter 7, 11,12, or 13
ach chapter, and l choose to proceed

pay or agree to pay someone who is not an attorney to help me fill out
he notice required by 11 U.S.C. § 342(b).

l request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

l understand making a false statement, concealing property,

with a bankruptcy c
18 U.S.C. § 152,

  

  

X

 

 

Signature of Debtor 1

Executed on

Voluntary Petition for individuals Filing for Bankruptcy

  

or obtaining money or property by fraud in connection
can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
519, and 3571.

 

Executed on
MM/ DD /YYYY

Signature of Debtor 2

page 6

 

 

 

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Debtor1 LOUrdeS Ma|'ia NUneZ Case number rirr<nown)

First Name Middle Name Last Name

 

l, the attorney for the debtor(s) named in this petition, declare that l have informed the debtor(s) about eligibility
to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
available under each chapter for which the person is eiigible. l also certify that l have delivered to the debtor(s)
the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that l have no
lf you are not represented knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.

by an attorney, you do not

For your attorney, if you are
represented by one

 

 

 

 

 

 

 

 

need to file this page. x
Date
Signature of Attomey for Debtor MM / DD /YYYY
Printed name
Firm name
Number Street
City State ZiP Code
Contact phone Email address
Bar number State

 
 

 

Official Form 101 Voluntary Petition for individuals Filing for Bankruptcy page 7

 

 

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Debtor1 Lourdes Maria

First Name Middle Name

N U nez Case number (irknown)

Last Name

 

 

For you if you are filing this
bankruptcy without an
attorney

if you are represented by
an attorney, you do not
need to file this page.

 

Official Form 101

 

The law allows you, as an individual, to represent yourself in bankruptcy court, but you
should understand that many people find it extremely difficult to represent
themselves successfui|y. Because bankruptcy has long-term financial and legal
consequences, you are strongly urged to hire a qualified attorney.

To be successful, you must correctly hle and handle your bankruptcy case. The rules are very
technical, and a mistake or inaction may affect your rights For example, your case may be
dismissed because you did not file a required document, pay a fee on time, attend a meeting or
hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
firm if your case is selected for audit. if that happens you could lose your right to file another
case, or you may lose protections including the benefit of the automatic stay.

You must list ali your property and debts in the schedules that you are required to file with the
court. Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
in your schedules. if you do not list a debt, the debt may not be discharged if you do not list
property or properly claim it as exempt, you may not be able to keep the property. The judge can
also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
case, such as destroying or hiding property, falsifying records, or lying. individual bankruptcy
cases are randomly audited to determine if debtors have been accurate, truthfu|, and complete
Bankruptcy fraud is a serious crime; you could be fined and imprisoned.

if you decide to file without an attorney, the court expects you to follow the rules as if you had
hired an attorney. The court will not treat you differently because you are filing for yourself. To be
successful, you must be familiar with the United States Bankruptcy Code, the Federal Rules of
Bankruptcy Procedure, and the local rules of the court in which your case is filed. You must also
be familiar with any state exemption laws that apply.

Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
consequences?

n No

m Yes

Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
inaccurate or incomplete, you could be fined or imprisoned?

a No

m Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?
El No

N Yes. Name of Person Sha ron Averv ,
Attach Bankruptcy Petition Preparer’s Notice, Declaration, and Signature (Official Form 119).

By signing here, l acknowledge that l understand the risks involved in filing without an attorney. l
have read and understood this notice, and l am aware that filing a bankruptcy case without an
attorney may cause met se my rights or property if i do not properly handle the case.

 
   

 

 

 

 

X
Signature of Debto:1 v Signature of Debtor 2
Date / / Date
/ D / Y MM/ DD /YYYY
Contact phone Q(//)"` ,qjj '_/;2 ?¢Z Contact phone
Ceil phone Ceil phone

 

 

 

Email address [OU»VQ£<§ /W”h/%Mm&l{/ mail address

 

 
 

Voluntary Petition for individuals Filing for Bankruptcy

 

 

 

Case 19-11962 Doc 1

Fili in this information to identify your case:

Maria

Middle Name

Lourdes

First Name

Debtor 1

Debtor 2

Nunez

Last Name

Filed 02/15/19

 

(Spouse, if filing) FirstName Middle Name
United States Bankruptcy Court for the:

Case number

Last Name

Districtof Ma|'Vland

 

(if known)

 

 

Official Form 107

 

Statement of Financial Affairs for individuals Filing for Bankruptcy

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¢:t.a

US r€:':‘§§`},.§_"~""_t‘!r\»e»,»..
f ." _=;f £ts;'j§‘ij’~’: :l’ ,»"i .
U§S'¥H' T §"§°é*§eék’t[th ban

to
@RE 1Fi"é§itteiidedfiling

       

04I16

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct
information. if more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case

number (if known). Answer every question.

Give Details About Your Marital Status and Where You Lived Before

1. What is your current marital status?

a Married
cl Not married

2. During the last 3 years, have you lived anywhere other than where you live now?

ElNo

x Yes. List all of the places you lived in the last 3 years Do not include where you live now.

Debtor 1:

5716 66th Avenue

 

 

 

 

 

 

Number Street

Riverdale MD 20737
City State ZiP Code
Number Street

City State ZiP Code

3. Within the last 8 years, did you ever live with a spouse or le
states and territories include Arizona, California, idaho, Louisia

NNo

Dates Debtor 1
lived there

From 10/01/12

Debtor 2:

cl Same as Debtor 1

Dates Debtor 2
lived there

cl Same as Debtor 1

 

 

 

 

N From
umber Street
To 6[25[18 To

City State ZiP Code

m Same as Debtor 1 n Same as Debtor 1

From F"°m

Number Street
To To

 

 

City

El Yes. Make sure you fill out Schedule H.' Your Codebtors (Official Form 106H).

m Expiain the Sources of your income

Official Form 107

Statement of Financial Affairs for individuals Filing for Bankruptcy

State Z|P Code

gai equivalent in a community property state or territory? (Community property
na, Nevada, New Mexico, Puerto Rico, Texas, Washington, and V\hsconsin.)

page 1

 

 

 

Case 19-11962 Doc 1

Nunez

Last Name

Lourdes Maria

First Name Middle Name

Debtor 1

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Case number (irknown)

 

4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
Fili in the total amount of income you received from all jobs and all businesses including part-time activities
if you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

l;l No
Yes. Fill in the detailsll

 

Sources of income
Check all that apply.

m Wages, commissions

From January 1 of current year until bonuses’ tips

the date you filed for bankruptcy:
Operating a business

m Wages, commissions
bonuses, tips

(January 1 to December 31, 2017 t n Operating a business
YYYY

For last calendar year:

m Wages, commissions
bonuses tips

(January 1 tO December 31,¥2¥Y0Y16 n Operating a business

For the calendar year before that:

Gross income Sources of lncome Gross income

 

(before deductions and Check all that appiy. (before deductions and
exclusions) exclusions)
a Wages, commissions
$M bonuses tips
cl Operating a business
n Wages, commissions
$ 22 000 bonuses, tips $

 

n Operating a business

n Wages, commissions
bonuses, tips

$Liooo_ C| Operating a business

5. Did you receive any other income during this year or the two previous calendar years?
include income regardless of whether that income is taxabie. Examples of otherincome are alimony; child support; Social Security,
unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and
gambling and lottery winnings if you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

List each source and the gross income from each source separately. Do not include income that you listed in line 4.

E No
Cl Yes. Fill in the details

 
 

Sources of income
Describe below.

 

 

From January 1 of current year until
the date you filed for bankruptcy:

l

For last calendar year:

 

Gross income from Gross income from

Sources of income

each source Describe below each source
(before deductions and (before deductions and
exclusions) exclusions)

$

_`
_`
______
`
___
__

 

 

 

(January 1 to December 31, )
YYYv

 

For the calendar year before that:

 

 

(January 1 to December 31, )

 

YVYY

 

Official Form 107

Statement of Financial Affairs for individuals Filing for Bankruptcy

page 2

 

 

Debtor1 LOUrdeS Maria Nunez Case number (irknewn)

Middle Name

First Name

wl Certain Payments You Made Before You Filed for Bankruptcy

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Last Name

 

6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

Cl No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts Consumer debts

“incurred by an individual primarily for a personal, family, or household purpose.”
During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425’ or more?

El No. Go to line 7.

l:l Yes. List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the
total amount you paid that creditor. Do not include payments

* Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

w Yes. Debtor1 or Debtor 2 or both have primarily consumer debts.
During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

w No. Go to line 7.

cl Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
creditor. Do not include payments for domestic support obligations such as child support and
alimony. A|so, do not include payments to an attorney for this bankruptcy case.

Credltors Name

Dates of Total amount paid Amount you still owe
payment

 

Number

Street

 

 

City

State Z|P Code

 

Creditor’s Name

 

Number

Street

 

 

 

City

State ZiP Code

 

Credltors Name

 

 

Number

Street

 

 

 

City

State ZlP Code

for domestic support obligations such as

are defined in 11 U.S.C. § 101(8) as

Was this payment for...

cl Mortgage

m Car

|;l Credit card

m Loan repayment

n Suppliers or vendors

n Other

n Mortgage

n Car

l:l credit card

a Loan repayment

a Suppliers or vendors
n Other

n Mortgage

m Car

n Credit card

n Loan repayment

n Suppliers or vendors

m Other

 

Official Form 107

Statement of Financial Affairs for individuals Filing for Bankruptcy

 

page 3

 

 

 

Debtor1 Lourdes Maria

First Name

Case 19-11962 Doc 1

Nunez

Last Name

Case number (lfknewn)

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7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
/nsiders include your relatives; any general partners relatives of any general partners; partnerships of which you are a general partner;
corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing

agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. include payments for domestic support obligations

such as child support and alimony.

mNo

El Yes. List all payments to an insider.

Dates of
payment

 

lnsider‘s Name

Amount you still

Reason forthis payment

 

 

 

Number Street

 

 

City

State Z|P Code

 

insiders Name

 

 

Number Street

 

 

 

City

State ZiP Code

 

 

t 84 Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited

an insider?

include payments on debts guaranteed or cosigned by an insider.

ENO

Cl Yes. List all payments that benefited an insider.

Dates of
payment

 

insiders Name

Amount you still

Reason for this payment
include creditor’s name

 

 

 

Number Street

 

 

City

State ZlP Code

 

|nsiders Name

 

Number Street

 

 

Qify

Official Form 107

slate zlP code

Statement of Financial Affairs for individuals Filing for Bankruptcy

 

 

 

 

page 4

 

 

 

 

Case 19-11962 DOC1 Filed 02/15/19 Page 13 Of 57

Debtor1 LOUrdeS Maria Nunez Case number (lfknawn)

First Name Middle Name Last Name

identify Legal Actions, Repossessions, and Foreciosures

 

9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
’ List all such matters including personal injury cases, small claims actions divorces collection suits paternity actions support or custody modifications .
and contract disputes

ENO

Ei Yes Fill in the details

 

 

 

 

 

 

 

 

 

 

Nature of the case Court or agency Status of the case
Case tm€" Court Name n Pending
m On appeal
Number Street m Conc|uded
Case number
City State Z|F' Code
Case title Coud Name n Pending
n On appeal
Number Street m Conduded
Case number
City State ZiP Code

 

 

 

» 10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or ievied?
Check all that apply and fill in the details below.

Cl No. Goto|ine11.
Yes Fill in the information below.

 

 

Describe the property Date Value of the property
TOyOta MOtOr Credit 372013 $ 7 500_00

Creditor's Name

9475 Deereco Rd

 

2011 Honda Cross Tour Accord

 

 

 

 

 

 

 

 

Number Street Expiain what happened
Suite 200 a Property was repossessed.
El Property was foreclosed
Timonium MD 21093 El Property was garnished.
city state zlP code El Property was attached, seized, or |evied.
Describe the property Date Vaiue of the property
$

 

 

Credltors Name

 

Number Street

 

Expiain what happened

Property was repossessed.

Property was foreclosed,

Property was garnished.

Property was attached, seized, or |evied.

 

 

City State ZiP Code

UUUU

Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 5

 

 

 

 

 

Case 19-11962 DOC1 Filed 02/15/19 Page 14 Of 57

Debtor1 LOUl'deS Maria Nunez Case number (lfknown)

First Name Middle Name Last Name

 

’ 11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
accounts or refuse to make a payment because you owed a debt?

N No
El Yes Fill in the details

 

 

 

 

 

 

 

 

 

 

Describe the action the creditor took Date action Amount
was taken
Cleditors Name
Number Street $
City State Z'F’ Code Last 4 digits of account number: XXXX-

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
creditors a court-appointed receiver, a custodian, or another officia|?

m No
n Yes

must Certain Gifts and Contributions

’ 13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

E No
El Yes. Fill in the details for each gift.

 

Git‘ts with a total value of more than $600 Describe the gifts Dates you gave Vaiue
per person the gifts

 

 

Person to Whom You Gave the Gift

 

 

Number Street

 

City State ZiP Code

Person's relationship to you

 

 

 

Gifts with a total value of more than $600 Describe the gifts Dates you gave Vaiue
per person ` the gifts

 

 

Person to Whom You Gave the Gift

 

 

Number Street

 

City State ZiP Code

 

Person's relationship to you

 

 

 

Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 6

 

 

 

 

r,*é

Case 19-11962 DOC1 Filed 02/15/19 Page 15 Of 57

Debtor1 Lourdes Maria Nunez case number time

First Name Middle Name i.ast Name

/ 14.Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

ENo

l;l Yes. Fill in the details for each gift or contribution.

Gifts or contributions to charities Describe what you contributed Date you Vaiue
that total more than $600 contributed

 

 

Chan`ty‘s Name

 

 

Number Street

 

City State Z|P Code

must Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
disaster, or gambling?

mNo

El Yes Fill in the details

 

 

 

Describe the property you lost and Describe any insurance coverage for the loss Date of your Vaiue of property
how the loss occurred _ _ _ _ _ loss lost

include the amount that insurance has pald. Llst pending insurance

claims on line 33 of Schedule A/B.' Property.

 

 

 

m`LiSt Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone
you consulted about seeking bankruptcy or preparing a bankruptcy petition?
include any attorneys bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

Cl No
N Yes Fill in the details

 

 

 

 

 

Description and value of any property transferred Date payment or Amount of payment

Sharon Averv "a"=fe'was

Person Who Was Paid . . . made
4 ' ' w'll w » §
Nun?°§er SSQL?'"° ' °W av 10/25/2018 $ 125_00
y Chapter 7 Bankruptcy ' ' ' ' ' ' '
#165 : Document Preparation $
LaPlata MD 20646

City State ZlP Code

Email or website address

Sharon.chapter7@qmail.cotn

 

 

Person Who Made the Payment, if Not You

 

Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 7

 

 

 

 

 

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Debtor1 Lourdes Maria NUn€Z Case number (ltknown)
First Name Middle Name Last Name
Description and value of any property transferred Date payment or Amount of

transfer was made payment

 

 

Person Who Was Paid

 

Number Street

 

 

City State ZiP Code

 

Email or website address

 

 

 

Person Who Made the Payment, if Not You

 

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
promised to help you deal with your creditors or to make payments to your creditors?
Do not include any payment or transfer that you listed on line 16.

mNo

Cl Yes Fill in the details

 

 

 

Description and value of any property transferred Date payment or Amount of payment
transfer was
made
Person Who Was Paid *
Number Street $
$

 

city state ziP code §

18. Within 2 years before you filed for bankruptcy, did you seil, trade, or otherwise transfer any property to anyone, other than property
x transferred in the ordinary course of your business or financial affairs?
include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
Do not include gifts and transfers that you have already listed on this statement

g No
Ei Yes. Fill in the details

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Description and value of property Describe any property or payments received Date transfer
transferred or debts paid in exchange was made

Person Who Received Transfer

Number Street

City State ZiP Code

Person's relationship to you

Person Who Received Transfer

Number Street

city state ZiP Code

Person's relationship to you

Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 8

 

 

 

 

Case 19-11962 Doc 1

Debtor1 Lourdes Maria

First Name Middle Name

19. Within 10 years before you filed for bankruptcy, did you transfer an

Nunez

Last Name

 

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are a beneficiary? (These are often called asset-protection devices.)

No
Ei Yes Fill in the details

Name of trust

Case number (ifl<nawn)

Description and value of the property transferred

_`,

 

 

y property to a self-settled trust or similar device of which you

Date transfer
was made

 

 

1st certain Financial Accounts, instruments Safe Deposit Boxes, and Storage Units

 

E No
El Yes Fill in the details

20. Within 1 year before you filed for bankruptcy,
ciosed, sold, moved, or transferred?
include checking, savings money market, or other financial accounts
brokerage houses pension funds, cooperatives associations and ot

Last 4 digits of account number

 

Name of Financial institution

xxxx-_

 

Number Street

 

 

City State

ZiP Code

XXXX-_

 

Name of Financial institution

 

Number Street

 

 

City State

a No
Cl Yes Fill in the details

ZiP Code

21. Do you now have, or did you have within 1 year before you filed for bankruptcy,
securities cash, or other valuables?

Who else had access to it?

 

Name of Financial institution

Type of account or

instrument

cl checking

n Savings

a Money market

n Brokerage

13 Other

Cl checking

n Savings

n Money market

n Brokerage

n Other

 

Name

 

Number Street

 

Number Street

 

 

City State

 

 

City St&te

Official Form 107

ZIP Code

ZlP Code

 

Describe the contents

Date account was
ciosed, sold, moved,
or transferred

were any financial accounts or instruments held in your name, or for your benefit,

; certificates of deposit; shares in banks, credit unions,
her financial institutions

Last balance before
closing or transfer

 

any safe deposit box or other depository for

Do you still
» have it?

§ElNo
§UYes

 

Statement of Financial Affairs for individuals Filing for Bankruptcy

 

page 9

 

 

 

 

Case 19-11962 DOC1 Filed 02/15/19 Page 18 Of 57

Debtor1 LOUrdeS Maria NUn€Z Case number (irknawn)

First Name Middle Name Last Name

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
No

Cl Yes. Fill in the details

 

 

 

Who else has or had access to it? Describe the contents Do you still
have it?
n No
Name of Storage Facility Name n Yes
Number Street Number Street

 

City State ZlP Code

 

y city w state ziP code

m identify Property You Hold or Control for Someone Else

 

 

 

23. Do you hold or control any property that someone else owns? include any property you borrowed from, are storing for,
or hold irl trust for someone.
a No
El Yes Fill in the details
Where is the property? Describe the property Vaiue

 

 

Owner’s Name $

 

“ * Street
Number Street

 

 

 

City State Z|P Code

 

 

 

city state ziP code

me Details About Environmental information

 

 

 

l For the purpose of Part 10, the following definitions app|y:

l Environmental law means any federai, state, or local statute or regulation concerning poliution, contamination, releases of
hazardous or toxic substances wastes or material into the air, |and, soil, surface water, groundwater, or other medium,
including statutes or regulations controlling the cleanup of these substances wastes or materia|.

§ l Site means any location, facility, or property as defined under any environmental iaw, whether you now own, operate, or
utilize it or used to own, operate, or utilize it, including disposal sites

` l Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
substance, hazardous material, poilutant, contaminant, or similar term.

Report all notices releases and proceedings that you know about, regardless of when they occurred.

“ 24.Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental |aw?

 

 

 

 

 

 

 

 

 

 

8 No
El Yes. Fill in the details
Govemmentai unit Environmental law, if you know it Date of notice
Name of site Govemmentai unit
Number Street Number Street
City State ZiP Code
City State ZiP Code
Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 10

 

 

 

 

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Debtor1 Lourdes Maria NUn€Z Case number (lrknewn)

First Name Middle Name Last Name

25. Have you notified any governmental unit of any release of hazardous materiai?

m No
Ei Yes Fill in the details

 

 

 

 

 

 

 

 

 

Govemmentai unit Environmental law, if you know it Date of notice
Name of site Govemmentai unit
Number Street Number Street
City State ZlP Code
City State ZiP Code
26. Have you been a party in any]udiciai or administrative proceeding under any environmental iaw? include settlements and orders

 

m No
E| Yes. Fill in the details

 

 

 

 

 

 

Court or agency Nature of the case gat;:'s of me
Case title
Court Name n Pendmg
n On appeal
Number Street n Conc|uded
Case number city state zlP code

mive Details About Your Business or Connectlons to Any Business

 

' 27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
n A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
m A member of a limited liability company (LLC) or limited liability partnership (LLP)
n A partner in a partnership
n An officer, director, or managing executive of a corporation

n An owner of at least 5% of the voting or equity securities of a corporation

E Ne. None of the above applies co to Part 12.
m Yes. Check all that apply above and fill in the details below for each business
Describe the nature of the business Employer identihcation number
Do not include Social Security number or l11N.

 

 

Business Name

 

Number Street

 

Name of accountant or bookkeeper Dates business existed

 

 

From To

 

City { State ZlE Code

 

Describe the nature of the business Employer identification number
Do not include Social Security number or iTlN.

 

 

Business Name

 

 

Number Street
Name of accountant or bookkeeper Dates business existed

 

 

From To

 

 

 

 

City State ZlP Code

 

Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 11

 

 

 

 

 

7 *_J

Case 19-11962 DOC 1 Filed 02/15/19 Page 20 Of 57

Debtor1 LOU rde$ Ma ria N UneZ Case number (lfknewn)

First Name Middle Name Last Name

 

 

 

Describe the nature of the business Employer identification number

 

 

Do not’ ' “ Social Security number or iTlN.
Business Name
EiN:__-________
Number Street . .
Name of accountant or bookkeeper Dates business exlsted

 

 

From To

 

City State ZlP Code

 

 

 

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? include all financial
institutions creditors or other parties

E No
Ei Yes Fill in the details below.

Date issued

 

`
Name MM / no / YYYY

 

Number Street

 

 

City State ZiP Code

| have read the answers on this Statement of Financial Affairs and any attachments and l declare under penalty of perjury that the
answers are true and correct. i understand that making a false statement, concealing propelty, or obtaining money or property by fraud
in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years or both.

18 U.S.C. §§ 152, 1341, 1519, and 3571.

eaa/fee x

Signature of Debtor 1 Signature of Debtor 2

Date / g Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

® No
n ¥es

 

 

 

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

 

 

 

 

n No
Xi Yes Name of person Sha ron Averv . Attach the Bankruptcy Petition Preparers Not/ee,
Declaration, and Signature (Official Form 119).
Offlciai Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 12

 

 

 

Case 19-11962 DOC1 Filed 02/15/19 Page 21 Of 57

Fili in this information to identify your case:

Debtor1 Lourdes Maria Nunez

First Name Middle Name Last Name

Debtor 2
(Spouse, if flling) First Name Middle Name Last Name

United States Banknlpicy Court for the: District of Ma ryla nd

 

    

El Check if this is an
l'fk"°“'"l 7 amended H|lng

Case number

 

Official Form 1068um
Summary of Your Assets and Liabiiities and Certain Statistical information 12/15

 

 

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct
information. Fili out all of your schedules first; then complete the information on this form. if you are filing amended schedules after you file
your original forms you must fi|| out a new Summary and check the box at the top of this page.

m Summarize Your Assets

Your assets
Vaiue of what you own

1. Schedule A/B.' Property (Official Form 106A/B)
1a, Copy line 55, Tota| real estate, from Schedule A/B .......................................................................................................... $ 0

1b. Copy line 62, Total personal property, from Schedule A/B ............................................................................................... $ 30,893.00

 

1c. Copy line 63, Total of all property on Schedule A/B .........................................................................................................

msummarize Your Liabiiities

$ 30,893.00

 

 

 

Your liabilities
Amount you owe

2. Schedule D: Creditors Who Have Claims Secured by Property (Offlcia| Form 106D)

 

 

 

 

 

 

 

 

 

2a. Copy the total you listed in Co|umn A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D ............ $ 0
3. Schedule E/F: Creditors Who Have Unsecured C/al'ms (Ofiicial Form 106E/F) 0
3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F ............................................ $
3b. Copy the total c|alms from Part 2 (nonprlorlty unsecured c|alms) from llne 61 of Schedule E/F ....................................... + $ 50' 445,00
Your total liabilities $ _':'&,M
Mmmarize Your income and Expenses
4. Schedule l: Yourlncome (Official Form 106|)
Copy your combined monthly income from line 12 of Schedule l .......................................................................................... 5 _2'-M_
5. Schedule J.' Your Expenses (Ofiicial Form 106J)
Copy your monthly expenses from line 220 of Schedule J .................................................................................................... $ _ZQM_
Official Form 1063um Summary of Your Assets and Liabiiities and Certain Statistical information page 1 of 2

 

 

Case 19-11962 DOC 1 Filed O2/15/19 Page 22 Of 57

Debtor1 Lourdes Maria Nunez Case number (lrknown)

First Name Middle Name Last Name

m Answer These Questions for Administrative and Statistical Records

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

n No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules

m Yes

 

7. What kind of debt do you have?

E Your debts are primarily consumer debts Consumer debts are those “incurred by an individual primarily for a personal,
family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-99 for statistical purposes. 28 U.S.C. § 159.

a Your debts are not primarily consumer debts ¥ou have nothing to report on this part of the form. Check this box and submit
this form to the court with your other schedulesl

 

 

8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
Form122A-1 Line11;OR,Form 1225 Line11;0R, Form122C-1 Line14. $ 2 500_00

 

 

 

 

9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

 

 

 

 

 

 

 

Total claim
From Part 4 on Schedule E/F, copy the foilowing:
9a. Domestic support obligations (Copy line 6a.) $ 0
9b. Taxes and certain other debts you owe the government (Copy line 6b.) $ 0
9c. Claims for death or personal injury while you were intoxicated. (Copy line 60.) $ 0
9d. student loans (copy line sf.) s__Z.M
9e. Obligations arising out of a separation agreement or divorce that you did not report as $ 0
priority claims (Copy llne 69.)
9f. Debts to pension or proHt-sharing plans, and other similar debts (Copy line 6h.) + $ 0
eg. Total. Add lines 9a through 9f. s 2,901.00
Official Form 1068um Summary of Your Assets and Liabiiities and Certain Statistical lnformation page 2 of 2

 

 

 

Case 19-11962 DOC 1 Filed O2/15/19 Page 23 Of 57

Fill in this information to identify your case and this filing:

Debtor1 Lourdes Maria Nunez

First Name Middle Name Last Name

Debtor 2
(Spouse, if tiling) First Name Middle Name Last Name

United States Bankruptcy Court for the: District of Ma r2 la nd

 

Case number

 

El cheek if this is an
amended filing

 

 

Official Form 106A/B
schedule A/B: Property 12115

in each category, separately list and describe items List an asset only once. if an asset fits in more than one category, list the asset in the
category where you think lt fits best. Be as complete and accurate as possible. if two married people are filing together, both are equally
responsible for supplying correct information. if more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

 

m Describe Each Residence, Bui|ding, Land, or Other Real Estate You 0wn or Have an interest in

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

E No. Go to Part 2.
l;l Yes Where is the property?

what ls the property? Check an that app'y‘ Do not deduct secured claims or exemptions Put
n Single-family home the amount of any secured claims on Schedule D.'

 

 

 

 

 

 

1_1_ v . v v n Dup|ex or mum_unit building Creditors Who Have Claims Secured by Property

Street address rf avallable, or other description _ _ _
a C°"d°m'"'um °r °°°Pe'at“/e Current value of the Current value of the
n Manufactured or mobile home entire property? portion you own?
m Land $ $
n investment property

. Cl Timeshare Describe the nature of your ownership
C'ty State zlP C°de n Oth interest (such as fee simp|e, tenancy by
er the entireties or a life estate), if known.

Who has an interest in the property? Check one.

a Debtor 1 only

County a Debtor 2 only
cl Debtor 1 and Debtor 2 only cl ?he°_k 'tf th't_s 's ;:°mmumty property
See lns ruc lons

 

 

n At least one of the debtors and another

Other information you wish to add about this item, such as local
property identification number:

 

lf you own or have more than one, list here:

what ls the property? Check an that app'y' Do not deduct secured claims or exemptions Put
n Single-family home the amount of any secured claims on Schedule D:

 

 

 

 

1_2_ ._ . . . Creditors Who Have Claims Secured by Property

Street address if available, or other description a Dup|ex ?r_mum um bu||d|r_`g » ~ »» » ~
n COndOmlnlum Of COOPeFaflVS Current value of the Current value of the
El Manufactured or mobile home entire property? portion you own?
n Land $ $
cl investment property
cl Timeshare Describe the nature of your ownership

City State zlP Code n interest (such as fee simpie, tenancy by

Other the entireties or a life estate), if known.

 

 

Who has an interest in the property? Check one.
El Debtor 1 only

 

County m Debtor 2 only
n Debtor1 and Debtor 2 Only n Check if this is community property
n At least one of the debtors and another (See inStFUCinHS)

Other information you wish to add about this item, such as local
property identification number:

 

Official Form 106A/B Schedule AlB: Property page 1

 

 

 

Case 19-11962 Doc 1

 

Filed O2/15/19 Page 24 Of 57

 

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D.'

Debtor1 Lourdes Maria Nunez ease number-tmt
First Name Middle Name Last Name
What is the property? Check all that apply.
1 3 n Single-family home

 

Street address if available, or other description

 

 

 

 

m Dup|ex or multi-unit building

 

Creditors Who Have Claims Secured by Property.

 

 

 

 

 

 

n Condominium or cooperative Current value of the Current value of the
n Manufactured or mobile home entire property? portion you own?
n Land $ $
n investment property
City State zlP Code n Timeshare Describe the nature of your ownership
interest (such as fee simp|e, tenancy by
n Other the entireties or a life estate), if known.
Who has an interest in the property? Check one.
El Debtor 1 only
County n Debtor 2 only
n Debtor 1 and Debtor 2 only n Chec_k if this is C°mmunity Pr°Pe"ty
\;l At least one of the debtors and another (See mstrucnons)
Other information you wish to add about this item, such as local
property identification number:
2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages $ 0
you have attached for Part 1. Write that number here. ...................................................................................... -)

Mscribe Your Vehicles

 

 

Do you own, iease, or have legal or equitable interest in any vehicles whether they are registered or not? include any vehicles
you own that someone else drives if you lease a vehicle, also report it on Schedule G.' Executon Contracts and Unexpired Leases.

3. Cars, vans trucks tractors sport utility vehicles motorcycles

El No

m Yes

3.1. Make: Nissa_n
lvlodel; Pathfinder
Year: 2013
Approximate mileage: 95k

Other information:

 

 

 

 

if you own or have more than one, describe here:

3_2_ Make:
Nlode|:
Year:
Approximate mileage:

Other information:

 

 

 

 

Official Form 106A/B

Who has an interest in the property? Check one.

x Debtor 1 only

m Debtor 2 only

cl Debtor1 and Debtor 2 only

n At least one of the debtors and another

cl Check if this is community property (see
instructions)

Who has an interest in the property? Check one.

a Debtor1 only

m Debtor 2 only

cl Debtor1 and Debtor 2 only

n At least one of the debtors and another

Ci Check if this is community property (see
instructions)

Schedule A/B: Property

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D.'
Creditors Who Have Claims Secured by Properfy.
Current value of the Current value of the
entire property? portion you own?

$ 8,644.00 $ 8,644.00

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

page 2

 

 

 

Case 19-11962 Doc 1

NUneZ Case number trfkrlown)

 

Who has an interest in the property? Check one.

Debtor1 Lourdes Maria
First Name Middle Name Last Name
3_3_ Make:
Model. n Debtor 1 only
¥ cl Debtor 2 only
earl

Approximate mileage:

Other information:

\;l Debtor 1 and Debtor 2 only
m At least one of the debtors and another

 

 

El Check if this is community property (see
instructions)

 

 

3_4. Make:
Model:
Year:
Approximate mileage:

Other information:

Who has an interest in the property? Check one.

m Debtor1 only

a Debtor 2 only

a Debtor1 and Debtor 2 only

n At least one of the debtors and another

 

 

El Check if this is community property (see
instructions)

 

 

a No
Cl Yes

4_1. Make:
Model:

___

Year:

Other information:

 

 

Who has an interest in the property? Check one.

n Debtor 1 only

a Debtor 2 only

cl Debtor 1 and Debtor 2 only

n At least one of the debtors and another

 

 

 

cl Check if this is community property (see
instructions)

 

 

if you own or have more than one, list here:

4_2_ Make:
Model:

 

Year:

Other information:

Who has an interest in the property? Check one.
n Debtor 1 only

n Debtor 2 only

n Debtor 1 and Debtor 2 only

n At least one of the debtors and another

 

 

El Check if this is community property (see
instructions)

 

 

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Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

4. Watercraft, aircraft, motor homes ATVs and other recreational vehicles other vehicles and accessories
Examples: Boats, trailers motors personal watercraft, fishing vessels snowmobi|es, motorcycle accessories

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Pmperty.

Current value of the Current value of the
entire property? portion you own?

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D.'
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages 8 644 00
you have attached for Part 2. Write that number here ........................................................................................................................ ') _'___

Official Form 106A/B

Schedule AlB: Property

page 3

 

 

 

 

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Debtor1 Lourdes Maria Nunez Case number (rfknown)

First Name Middle Name Last Name

 

m Describe Your Persona| and Household items

Do you own or have any legal or equitable interest in any of the following items?

6. Household goods and furnishings
Examples: Major appliances furniture, linens china, kitchenware

UNo

 

w Yes. Describe ......... g _ _ _
§ Furnlture, Llnens, Kltchenware, Lamps
7. Electronics

Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers printers scanners; music
collections; electronic devices including cell phones cameras media players games

UNo

 

 

Yes. Describe ..........

 

lPhone 7, TV

 

 

` a. Coiiectibles of value

Examples.' Antiques and tigurines; paintings prints or other artwork; books pictures or other art objects;
stamp, coin, or baseball card collections other collections memorabilia, collectibles
m No

 

El Yes. Describe ..........

 

 

 

9. Equipment for sports and hobbies

Examples: Sports photographic, exercise, and other hobby equipment; bicycles pool tables golf clubs skis; canoes
and kayaks; carpentry tools; musical instruments

ENO

 

El Yes. Describe ..........

 

 

 

g 10. Firearms
` Examples: Pistols rifles shotguns ammunition, and related equipment

ENo

 

Cl Yes. Describe ..........

 

 

 

.Clothes
Examples.' Everyday clothes furs leather coats designer wear, shoes accessories

l:lNo

1

_\

 

8 Yes. Describe ..........
Everyday Clothes and Shoes

 

 

 

12. Jewe|ry
Examples: Everyday jewelry, costume jewelry, engagement rings wedding rings heirloom jewelry, watches gems
gold, silver
n No

 

E Yes' Describe """"" Costume Jewelrv, Weddinq Rinq

 

 

 

13. Non-farm animals
z Examples: Dogs, cats birds horses

NNo

 

|;l Yes. Describe ..........

 

 

14.Any other personal and household items you did not already list, including any health aids you did not list

NNo

 

L_.l Yes. Give specific
information. .............

 

 

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached

for Part 3. Write that number here .................................................................................................................................................... -)

Official Form 106A/B Schedule AlB: Property

Current value of the
portion you own?

Do not deduct secured claims
or exemptions.

$ 500.00

$ 200.00

$ 200.00

$ 250.00

 

 

 

s_'|.M_

 

 

 

page 4

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Debtor1 LOUrdeS Maria N Unez Case number (ifknown>
FirstName Middle Name Last Name
m Describe Your Financial Assets
\ Do you own or have any legal or equitable interest in any of the following? Current Va|ue of the
portion you own?
Do not deduct secured claims
or exemptions
' 16. Cash
Examples.' Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
8 No
n Yes ................................................................................................................................................................ Cash: _____________________ $
17. Deposits of money
Examples: Checking, savings or other financial accounts; certiticates of deposit; shares in credit unions brokerage houses
and other similar institutions lf you have multiple accounts with the same institution, list each.
Cl No
m Yes ..................... institution name:
17.1.Checking account; Capital One (JOint ACCt) $ 1,000.00
17.2. Checking account: Capltal One (JOint ACCt) $ 85,00
17.3. Savings account: Capita| One $ 1.37
17.4. Savings account: $
17.5. Certificates of deposit; $
17.6. Other financial account: CaDltal On€ 360 ACCt $ 14,00
17.7. Other financial account: $
17.8. Other inancial aocount: $
17.9. Other financial account $
18. Bonds, mutual funds or publicly traded stocks
Examples: Bond funds investment accounts with brokerage firms money market accounts
8 No
m Yes ................. institution or issuer name:
' 19. Non-publicly traded stock and interests in incorporated and unincorporated businesses including an interest in
an LLC, partnership, and joint venture
g No Name of entity: % of ownership:
Cl Yes. Give specific %
information about
them ......................... %
%
Ofticial Form 106A/B Schedule AlB: Property page 5

 

 

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Debtor1 Lourdes Maria Nunez Case number (/fi<nown)

First Name Middle Name Last Name

20. Government and corporate bonds and other negotiable and non-negotiable instruments

Negotiable instruments include personal checks cashiers’ checks promissory notes and money ordersl
Non-negotiab/e instruments are those you cannot transfer to someone by signing or delivering them.

ENO

Cl Yes. Give specific issuer name:
information about

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

them ....................... $
$
$
21. Retirement or pension accounts
Examples: interests in lRA, ER|SA, Keogh, 401 (k), 403(b), thrift savings accounts or other pension or profit-sharing plans
No
El Yes. List each
account separateiy. Type of account: institution name:
401(k) or similar pian: $
Pension plan: $
iRA: $
Retirement account: $
Keogh: $
Additional account $
Additional account: $
22.Security deposits and prepayments
Your share of all unused deposits you have made so that you may continue service or use from a company
Examples: Agreements with landlords prepaid rent, public utilities (electric, gas water), telecommunications
companies or others
8 No
n Yes .......................... institution name or lndividual:
Electric: $
Gas; $
Heating oil: $
Security deposit on rental unit: $
Prepaid rent: $
Telephone: $
Water! $
Rented furniture: $
Other: $
23.Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
No
n Yes .......................... issuer name and description:
$
$
Official Form 106A/B Schedule AlB: Property page 6

 

 

 

 

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Debtor1 Lourdes Maria Nunez Case number(irimown)

First Name Middle Name Last Name

24. interests in an education iRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

ENo

cl Yes """""""""""""""""""" institution name and description. Separateiy file the records of any interests.11 U.S.C. § 521(c):

 

 

 

 

25.Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
exercisable for your benefit

ENo

l;l Yes. Give specinc
information about them.... $

 

 

 

 

26. Patents, copyrights trademarks trade secrets and other intellectual property
Examples: lnternet domain names websites proceeds from royalties and licensing agreements

ENo

cl Yes. Give specific
information about them.... $

 

 

 

 

27. Licenses, franchises and other general intangibles
Examples: Building permits exclusive licenses cooperative association holdings liquor licenses professional licenses

 

 

 

 

w No
m Yes. Give specific
information about them.... $
Money or property owed to you? Current value of the

portion you own?
Do not deduct secured
claims or exemptions

28.Tax refunds owed to you

ENo

El Yes. Give specific information
about them, including whether
you already filed the returns State;
and the tax years .......................

 

Federal:

Local:

 

 

 

29. Family support
Examples: Past due or lump sum alimony, spousal supportl child supporl, maintenance, divorce settlement, property settlement

ElNo

 

E Yes. Give specihc information ..............
Alimony: $
Past Due Child Support Maimenance: $
Support $ 201000.00
Divorce settlement $
Property settlement $

 

 

 

30. Other amounts someone owes you
Examples: Unpaid wages disability insurance payments disability benefits sick pay, vacation pay, workers’ compensation,
Social Security benefits; unpaid loans you made to someone else
N No

El Yes. Give specific information ...............

 

 

 

 

Official Form 106A/B Schedule AlB: Property page 7

 

 

 

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Debtor1 LOUFdeS Maria Nunez Case number (in<riown)

First Name Middle Name Last Name

' 31, interests in insurance policies
Examples: Heaith, disability, or life insurance; health savings account (HSA); credit, homeowners or renter’s insurance
E No

n Yes' Name the insurance °_°mpany Company name: Beneficiary: Surrender or refund value;
of each policy and list its value.

 

 

 

 

§ 32. Any interest in property that is due you from someone who has died
if you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
property because someone has died.

NNo

Cl Yes. Give specific information ..............

 

 

 

 

33. Claims against third parties whether or not you have filed a lawsuit or made a demand for payment
Examples: Accidents, employment disputes insurance claims or rights to sue

NNo

n Yes. Describe each claim. ....................

 

 

 

 

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
to set off claims

ENo

El Yes. Describe each claim. ....................

 

 

 

 

35.Any financial assets you did not already list

ENo

Cl Yes. Give specific information ............ s

 

 

 

 

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
for Part 4. write that number here .................................................................................................................................................... -) s 21.099.00

 

 

wescribe Any Business-Related Property You Own or Have an interest ln. List any real estate in Part 1.

 

37. Do you own or have any legal or equitable interest in any business-related property?
8 No. Go to Part 6.
El Yes. Go to line 38.

Current value of the
portion you own?

Do not deduct secured claims
or exemptions

 

38.Accounts receivable or commissions you already earned

w No
Ei Yes. Describe .......

 

 

 

it
39. Office equipment, furnishings and supplies
Examples: Business-related computers software, modems, printers copiers fax machines rugs, telephones desks chairs electronic devices

g No
El Yes. Describe .......

 

.,.UM,

 

 

Official Form 106A/B Schedule AIB: Property page 8

 

 

Case 19-11962 DOC1 Filed O2/15/19 Page 31 Of 57

Lourdes Maria

First Name Middle Name

Nunez

Last Name

Debtor 1 Case number (lflrnawri)

40. Machinery, fixtures equipment, supplies you use in business and tools of your trade

NNo

 

E.l Yes. Describe .......

 

 

41 . inventory

ENO

 

El Yes. Describe .......

 

 

 

42. interests in partnerships orjoint ventures

NNO

Cl Yes. Describe ....... Name of entity

% of ownership:
%

%

 

%

 

` 43.Customer lists mailing lists or other compilations
a No

El Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
El No

 

n Yes. Describe. .......

 

 

 

` 44.Any business-related property you did not already list
E No
El Yes. Give specific

 

information .........

 

 

 

€9$6369$$

 

7 45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
for Part 5. Write that number here .................................................................................................................................................... ')

 

 

 

 

Describe Any Farm- and Commercial Fishing-Re|ated Property You 0wn or Have an interest ln.

if you own or have an interest in farmland, list it in Part 1.

 

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
' a No. Go to Part 7.
Cl Yes. Go to line 47.

7 47. Farm animals
Examples: Livestock, poultry, farm-raised fish

ENo

Current value of the
portion you own?

Do not deduct secured claims
or exemptions

 

El Yes .........................

 

 

 

Official Form 106A/B Schedule AlB: Property

 

page 9

 

 

Case 19-11962 DOC 1 Filed O2/15/19 Page 32 Of 57

Debtor1 LOU|'C|€S Maria NUneZ Case number (irknown)

First Name Middle Name Last Name

48. Crops-either growing or harvested

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

N No
Cl Yes. Give specific
information ............. $
49. Farm and fishing equipment, implements machinery, fixtures and tools of trade
m No
n Yes ..........................
$
50. Farm and fishing supplies chemicals and feed
m No
cl Yes ..........................
$
` 51.Any farm- and commercial fishing-related property you did not already list
8 No
Cl Yes. Give specific
information ............. $
52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached $ 0
for Pait 6. Write that number here ................................................................................................................................................. 9
mesoribe All Property You 0wn or Have an interest in That You Did Not List Above
t 53. Do you have other property of any kind you did not already list?
Examples: Season tickets country club membership
m No
|;l Yes. Give specific
information. ............
~ 544 Add the dollar value of ali of your entries from Part 7. Write that number here ................................................................. 9 $ 0
1st the Totals of Each Part of this Form
\ 55. Part 1: Total real estate, line 2 .............................................................................................................................................................. 9 . $ 0
56. Part 2: Total vehicles line 5 $ 8,644.00
1 57. Fart 3: Total personal and household items line 15 $ 1,150-00
f se.Part 4: Total financial assets line 36 $ 21,099.00
59. Part 5: Total business-related property, line 45 $ 0
60. Part 6: Total farm- and fishing-related property, line 52 $ 0
: 61. Part 7: Total other property not listed, line 54 + $ O
62.Total personal property. Add lines 56 through 61. .................... $ 30,893.00 Copy personal property total 9 +$ 30¢893.00

 

 

 

63.Total of ali property on Schedule A/B. Add line 55 + line 62 ..........................................................................................

Official Form 106A/B Schedule AlB: Property

 

 

$_B.§M_

 

 

 

page 10

 

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Fill in this information to identify your case:

Debtor1 Lourdes Maria Nunez

First Name Middle Name Last Name

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

united states Bankruptcy Court for the: District of Mary|and

case number El Check if this is an
('f"“°‘”") amended filing

 

 

 

Official Form 106C
Schedule C: The Property You Claim as Exempt 04/16

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct information.

Using the property you listed on Schedule A/B: Property (Ofncial Form 106A/B) as your source, list the property that you claim as exempt. if more
space is needed, fill out and attach to this page as many copies of Pan‘ 2: Additional Page as necessary On the top of any additional pages write
your name and case number (if known).

 

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternativeiy, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions_such as those for health aids rights to receive certain benefits and tax-exempt
retirement funds_may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount. ~

mldentify the Property You Claim as Exempt

1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

m You are claiming state and federal nonbankruptcy exemptions 11 U.S.C. § 522(b)(3)
El You are claiming federal exemptions 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on Current value of the Amount of the exemption you claim Specific laws that allow exemption

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Schedule A/B that lists this property portion you own

Copy the value from Check only one box for each exemption

Schedule A/B
§;i:cfription_ '13 Nissan Pathfinder $ 8,644_00 n $ 11'504(f)(1)(')(1)
Line from m 100% of fair market value, up to 11-504(b)(5)
Schedule A/B.l 3 any applicable statutory limit
§;ise;ription: ___E|ectronics $ 200‘00 n $ 11-504(b)(5)
Line from 7 E 100% of fair market value, up to
Schedu/e A/B_- _ any applicable statutory limit
geiset:ription: C|Othin $200.00 Cl $ 11`504(b)(4)
Line from N 100% affair market value, up to
Schedu/e A/B_~ 11 any applicable statutory limit

 

3. Are you claiming a homestead exemption of more than $160,375?
(Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)

m No
Cl Yes. Did you acquire the property covered by the exemption within 1,215 days before you tied this case?
U No
El Yes
Official Form 1060 Schedule C: The Property You Claim as Exempt page 1 of _

 

Case 19-11962 DOC 1 Filed O2/15/19 Page 34 Of 57

 

 

 

 

 

 

 

 

Debtor1 Lourdes Maria Nunez Case number tifknown)
First Name Middle Name Last Name
m Additional Page
Brief description of the property and line Current value of the Amount of the exemption you claim Specific laws that allow exemption
on Schedule A/B that lists this property portion you own
Copy the value from Check only one box for each exemption
Schedule A/B
Brief 11-504(1?))(4)
description: Jewelr $250'00 n $
Line from 12 8 100% of fair market value, up to
Schedule A/B'. _ any applicable statutory limit

B`f ' 71 11-504(b)(5
d;'§Cn-prron; Checl<'" ACCt- $1.000.00 cit l

8 100% of fair market value, up to

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

L' f

Sl¢r:]i?e¢;?i;: A/B,- m_ any applicable statutory limit

E::;nption_ Checkinq Acct. $ 35_00 n $ 11-504(b)(5)

Line from 17 2 8 100% of fair market value, up to

schedule A/B.- _'_ any applicable statutory limit

E::;ription: Checkin Acct' $ 14.00 8 $ 11'504(b)(5)

Line from 17_6 E 100% of fair market value, up to

Schedule A/B: any applicable statutory limit

§rief~ tr Household Goods $ 500 00 us 11'504(b)(4)
escrlp lon: _-__ -

Line from 8 100% of fair market value, up to

Schedule A/B; 6_ any applicable statutory limit

11-504(b)(6)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

§;i:;ription_ Past Due Child Support $ 20'000_00 g $

Line from 29 8 100% of fair market value, up to
Schedule A/B_~ __ any applicable statutory limit
§t-r:isec:ription: __g__$avin S ACCt' $ 1.37 8 $ 11_504(b)(5)
Line from 17_3 8 100% of fair market value, up to
Schedule A/B; y any applicable statutory limit
Brief

description: _` $ 8 $

Line from 8 100% of fair market value, up to
Schedule A/B: __ any applicable statutory limit
Brief

description: __ $ 8 $

Line from 8 100% of fair market value, up to
Schedule A/B_- ___ any applicable statutory limit
Brief

description: __-_ $ 8 $

Line fr o m 8 100% of fair market value, up to
Schedu/e A/B; any applicable statutory limit
Brief

description: ` $ 8 $

Line from 8 100% of fair market value, up to
Schedule A/B; __ any applicable statutory limit
Brief

description: ____ $ 8 $

Line from 8 100% of fair market value, up to
Schedule A/B; __ any applicable statutory limit

 

Official Form 106C Schedule C: The Property You Claim as Exempt page _ of _

 

 

 

Case 19-11962 DOC 1 Filed O2/15/19 Page 35 Of 57

Fill in this information to identify your case:

Debtor1 Lourdes Maria Nunez

First Name Middle Name Last Name

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Couitforthe: District of Mary|and

 

 

C b
ri?§§o$`n'i'“ e' El cheek if this is an
amended filing

 

 

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property 12115

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct
information. if more space is needed, copy the Additional Page, fill it out, number the entries and attach it to this form. On the top of any
additional pages, write your name and case number (if known).

 

1. Do any creditors have claims secured by your property?
8 No. Check this box and submit this form to the court with your other schedules You have nothing else to report on this form.
8 Yes. Fill in all of the information below.

mist Ail secured claims
tjolunin‘

2. List ali secured claims if a creditor has more than one secured claim, list the creditor separately 'Amnu§`,t of guam
for each claim. if more than one creditor has a particular claim, list the other creditors in Part 2. jzzn°t deductt§he
As much as possible, list the claims in alphabetical order according to the creditor’s name, value await/ama

   

 

   

     

  

21 Describe the property that secures the claim: $ $ $
Creditors Name

 

 

 

 

 

 

 

 

Number _ Street
As of the date you file, the claim is: Check ali that apply.
8 Contingent
El unliquidated
ley State Z|P Code n Disputed
Wh° °Wes the debt? Check °ne~ Nature of lien. Check all that apply.
n Debt°r 1 °n|Y 8 An agreement you made (such as mortgage or secured
8 Debtor 2 only car loan)
E] Debtor1 and Debtnr 2 only 8 Statutory lien (such as tax lien, mechanic’s lien)
8 At least one of the debtors and another n Judgmem lien from a lawsuit

8 Other (including a right to offset)
8 Check if this claim relates to a
community debt

 

Date debt was incurred Last 4 digits of account number _ _ __ _
il Describe the property that secures the claim: $ $ $

 

 

 

Creditors Name

 

 

 

 

 

 

Number Street
As of the date you fiie, the claim is: Check all that apply.
8 Contingent
El unliquidated
City State ZiP Code n Disputed
Wh° owes the debt? Check °ne- Nature of lien. Check all that apply.
n Debt°l’ 1 only 8 An agreement you made (such as mortgage or secured
8 Debtor 2 only car loan)
n Debtor1 and Debt°r 2 only 8 Statutory lien (such as tax lien, mechanic’s |ien)
8 At least one of the debtors and another a Judgment lien from a lawsuit

8 Other (including a right to offset)
8 Check if this claim relates to a
community debt

Date debt was incurred Last 4 digits of account number__ _ _ _
Add the dollar value of your entries in Co|umn A on this page. Write that number here: }$_L__

 

 

 

 

Official Form 106D Schedule D: Creditors Who Have Claims Secured by Property page 1 nfl

 

 

Case 19-11962 Doc 1

Fill in this information to identify your case:

Maria

Middle Name

Lourdes

First Name

Debtor 1
Last Na

Debtor 2

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Nunez

me

 

(Spouse, if fliing) First Name Middle Name Last Na

United States Bankruptcy Court for the;

Case number
(if known)

 

 

me

__oistrleter Mar land

El check if this is an
amended filing

 

Official Form 106E/F

 

Schedule E/F: Creditors Who Have Unsecured Claims

12/15

 

Be as complete and accurate as possible. Use Part 1 for creditors with PR|OR|TY claims and Part 2 for creditors with NONPR|OR|TY claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule

A/B: Property(Official Form 106AIB) and on Schedule G: Executo
creditors with partially secured claims that are listed in Schedule

ry Contracts and Unexpired Leases (Official Form 1066). Do not include any
D: Creditors Who Have Claims Secured by Property. if more space is

needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
any additional pages, write your name and case number (if known).

mm Aii of Your PR|OR|TY Unsecured Claims

 

1. Do any creditors have priority unsecured claims against you?

 

8 No. Go to Part 2.
8 Yes.

 

 

2. List ali of your priority unsecured claims if a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
each claim listed, identify what type of claim it is. if a claim has both priority and nonpriority amounts list that claim here and show both priority and
nonpriority amounts As much as possible, list the claims in alphabetical order according to the creditor’s name, if you have more than two priority
unsecured claims fill out the Continuation Page of Part 1. lf more than one creditor holds a particular claim, list the other creditors in Part 3.

(For an explanation of each type of claim, see the instructions for this form in the instruction bookiet.)

 

 

 

 

 

 

 

 

2.1
Last 4 digits of account number ___ _ _ $ $ $
Prion'ty Creditor‘s Name
When was the debt incurred?
Number Street
As of the date you file, the claim is: Check all that apply
city state zlP code m C°"u"ge"t `
El unliquidated
Who incurred the debt? Check one. n Disputed
8 Debtor1 only
8 Debtor 2 only Type of PR|OR|TY unsecured claim:
g Debt°r1 and Debt°r 2 only 8 Domestic support obligations
At least one of the debtors and another 8 Taxes and certain other debts you owe the government
n check 'f thls cla'm 's for a c°mmumty debt 8 Claims for death or personal injury while you were
is the claim subject to offset? '"t°X'°ated
8 Other. Specify
No
8 Yes
2.2 |

 

Pnority Creditors Name

 

Number Street

 

 

City State

Who incurred the debt? Check one.

8 Debtor1 only

8 Debtor 2 only

8 Debtor1 and Debtor 2 only

8 At least one of the debtors and another

8 Check if this claim is for a community debt

ZiP Code

is the claim subject to offset?

8 No
8 Yes

 

Last4 digits of account number __ _ _ _ $ $ $

When was the debt incurred?

As of the date you fi|e, the claim is: Check all that apply
8 Contingent

8 Un|iquidated

8 Disputed

Type of PR|OR|TY unsecured claim:
8 Domestic support obligations
8 Taxes and certain other debts you owe the government

8 Claims for death or personal injury while you were
intoxicated

8 Other. Specify

 

 

 

Official Form 106E/F

Schedule ElF: Creditors Who Have Unsecured Claims

page 1 of lQ

 

Case 19-11962 DOC 1 Filed 02/15/19 Page 37 Of 57
Debtor1 LOUrdeS Maria NUneZ Case number(lri<nown)

First Name Middle Name Last Name

moot Pnlonlrv unsecured claims - continuation Page

After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so forth. Total”claim Priority
. amount

:| $ $ $

Last 4 digits of account number _

 

 

` Ngnpriority §
amount/1 ’

  

 

 

Priority Creditors Name

When was the debt incurred?

 

 

 

 

Number Street
As of the date you file, the claim is: Check all that apply.
8 Contingent
city state zlP code 8 unliquidated
8 Disputed
Who incurred the debt? Check one.
8 Debtor1 only Type of PR|OR|TY unsecured claim:
n Debtor 2 only 8 Domestic support obligations
8 Debtor1 and Debtor 2 only .
8 Taxes and certaln other debts you owe the government
8 At least one of the debtors and another _ . . .
8 Claims for death or personal injury while you were
8 Check if this claim is for a community debt 'm°X'°ated
8 Other. Specify
ls the claim subject to offset?
8 No
8 Yes

 

Last 4 digits of account number __

 

 

Priority Creditors Name

When was the debt incurred?

 

 

 

Number Street
As of the date you fi|e, the claim is: Check all that apply.
8 Contingent

city state zlP code 8 unliquidated

8 Disputed
Who incurred the debt? Check one.

8 Debtor1 only Type of PR|OR|TY unsecured claim:
8 Debtor 2 only

8 Debtor1 and Debtor 2 only

8 At least one of the debtors and another

8 Domestic support obligations
8 Taxes and certain other debts you owe the government

8 Claims for death or personal injury while you were
intoxicated

8 Check if this claim is for a community debt
8 Other. Specify

 

ls the claim subject to offset?

8 No
8 ¥es

 

 

Last 4 digits of account number _

 

 

Priority Creditors Name

When was the debt incurred?

 

 

 

Number Street
As of the date you file, the claim is: Check all that apply.
8 Contingent

city state zlP code 8 unliquidated

8 Disputed
Who incurred the debt? Check one.

8 Debtor1 only Type of PR|OR|TY unsecured claim:
8 Debtor 2 only

8 Debtor1 and DebtorZ only

8 At least one of the debtors and another

8 Domestic support obligations
8 Taxes and certain other debts you owe the government

8 Claims for death or personal injury while you were
intoxicated

8 Other. Specify

 

8 Check if this claim is for a community debt

 

ls the claim subject to offset?

§ n NO
§ 8 Yes

 

 

Official Form 106E/F Schedule ElF: Creditors Who Have Unsecured Claims page 2 ot’l

 

 

 

Case19-11962 DOC1
Lourdes Maria Nunez

First Name Middle Name Last Name

m List All of Your NONPR|CR|TY Unsecured Claims

Debtor 1

Yes

claims till out the Continuation Page of Part 2.

 

L| One Main Financial

Nonpriorlty Creditors Name

6801 Colwe|l Boulevard

3. Do any creditors have nonpriority unsecured claims against you?
8 No. You have nothing to report in this part. Submit this form to the court with your other schedules.

 

 

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Case number (lritnown)

4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. lf a creditor has more than one
nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
included in Part 1. |f more than one creditor holds a particular claim, list the other creditors in Part 3.lf you have more than three nonpriority unsecured

Last 4 digits of account numberL L l __)L

4[30[20'|5

When was the debt incurred?

 

.. ..I?§*°'¢im

$ 7,727.00

 

 

 

 

 

 

 

 

 

Who incurred the debt? Check one.

8 Debtor1 only

8 Debtor 2 only

8 Debtor 1 and Debtor2 only

8 At least one of the debtors and another

8 Check if this claim is for a community debt

ls the claim subject to offset?

8 No
8 Yes

 

Number Street
lrvinq TX 75039 _ _ _
City state zlP code As of the date you file, the claim ls: Check all that apply.
8 Contingent
Who incurred the debt? Check one. [| Un|iquidated
8 Debtor1 only 8 Disputed
8 Debtor2 only
8 Debtor1 and Debtor2 only Type of NONPR|OR|TY unsecured claim:
8 At least one of the debtors and another n Student loans
[] Check if this ciaim is for a community debt 8 Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
ls the Claim subject t° offset? 8 Debts to pension or profit-sharing plans, and other similar debts
m NO 8 Other. Specify Loan
8 Yes
4-2 |Synchi-Ony Bank Last4 digits of account number X_ X_ X_)§_ $ 5.100~00
Nonprion'ty creditors Name When was the debt incurred? 10[14[2012
P.O. Box 965036
Number Street
Or|ando Fi_ 32896 As of the date you file, the claim is: Check all that apply.
City State ZlP Code n Contingent
Who incurred the debt? Check one. n Un|iquidaf€d
8 Debtor 1 only m D'sputed
8 Debtor 2 only
n Debtor1 and Debt°r 2 only Type of NONPR|OR|TY unsecured claim:
8 At least one of the debtors and another 8 Student loans
n _ _ _ _ _ 8 Obligations arising out of a separation agreement or divorce
Check lf thls claim ls for a community debt that you did not report as pl.i,:,i.iiy claims
is the claim subject to offset? 8 Debts to pension or profit-sharing plans, and other similar debts
8 No 8 Other. Specify Credit Ca l'd
8 Yes
4.3
_| Synchrony Bank Last4 digits of account number l l l _X__ 4 134 00
Nonpn'ority Creditors Name $_l'_
When was the debt incurred? 9 22 2013
P.O. Box 965015
Number Street
Orlando FL 32896 . . . _
City State Z|P Code As of the date you fl|e, the claim ls. Check all that app|y.

8 Contingent
8 unliquidated
8 Disputed

Type of NONPR|OR|TY unsecured claim:

8 Student loans

8 Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

8 Debts to pension or profit-sharing plansl and other similar debts

8 other specify Credit Ca rd

 

 

Oflicial Form 106E/F

Schedule ElF: Creditors Who Have Unsecured Claims

page § on

 

 

Case 19-11962 Doc 1

Debtott Lourdes Maria Nunez

First Name Middle Name Last Name

Filed 02/15/19 Page 39 Of 57

Case number (lftnown)

 

m Your NONFRIORITY Unsecured Claims - Continuation Page

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.
4.4 . - ~ X X X X
Ver|zon Last 4 digits of account number _ _ _ _ $1 692_00
Nonpriority Creditors Name
When was the debt incurred? 06 01 2015
P.O. Box 4830
N
timber Street As of the date you filel the claim is: Check all that apply.
Trenton NJ 08650
City State ZlP Code 8 Contingent
8 unliquidated
Who incurred the debt? Check one. n Disputed
8 Debtor1 only
8 Debtor2 only Type of NONPR|OR|TY unsecured claim:
8 Debtor 1 and Debtor 2 only m Student loans
n At least one °f the debtors and another 8 Obligations arising out of a separation agreement or divorce that
8 Check if this claim is for a community debt you d'd not report as pn?nty c':°"ms _ _
8 Debts to pension or profit-sharing plans, and oth_er similar debts
is the claim subject to offset? m Other_ Specify Telephone/Cable Bl|l
m No
8 Yes
4_5 . . X X X X
Synchrony Bank Last 4 digits of account number _ _ _ __ $ 743.00
Nonpiiority Creditors Name
When was the debt incurred? 7103[2015
P.O. Box 965036
Number Street
As of the date you file, the claim is: Check all that apply.
Orlando FL 32896
City State ZlP Code n Contingent
_ 8 unliquidated
Who incurred the debt? Check one. n Disputed
m Debtor1 only
8 Debtor 2 only Type of NONPR|OR|TY unsecured claim:
g Debtor1 and Debtor2 only n Student loans
At least one of the debtors and another 8 Obligations arising out of a separation agreement or divorce that
8 Check if this claim is for a community debt you did not rePort as pm_,my c|é'ms _ _
8 Debts to pension or profit-sharing plans, and other similar debts
ls the claim subject to offset? m 0\her_ Specify Cr€dlt Cal'd
m No
8 Yes
M 1243 00
.. - - x x x x $-1_'
A-i--i- Mob|i|ty Last 4 digits of account number _ __ _ _
Nonpriority Creditors Name
When was the debt incurred?
P.O. Box 536216
Number Street As of the date you file the claim is cite lt ll tn t l
, : c a a app y.
Atlanta GA 30353
city state zlP code |;| Contingent
8 Unliquidated
Who incurred the debt? Check one. n Disputed
8 Debtor1 only
8 Debtor2 only Type of NONPR|OR|TY unsecured claim:
g Debtor1 and Debtor 2 only n Student loans
At least one of the debtors and another 8 Obligations arising out of a separation agreement or divorce that
8 Check if this claim is for a community debt you d'd not report as pn?"ty c|_a'ms _ ,
8 Debts to pension or p_roflt-shanng plans,. and other similar debts
ls the claim subject to offset? E Other_ Specify Wll‘€le$$ Sel'VlCe
8 No
8 Yes
Official Form 106E/F Schedule ElF: Creditors Who Have Unsecured Claims page f of lo

 

 

 

Debtor 1

Case 19-11962 Doc 1

Nunez

Last Name

Lourdes Maria

First Name Middle Name

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Case number (ifkncwn)

gem NONPR|OR|TY Unsecured Claims -- Continuation Page

 

 

 

 

 

 

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.

 

¢.:,./Liote`i`eiaim

 

 

 

 

 

 

 

 

 

 

 

 

 

 

4.7 . . - - ~
Cltlbank NA Last4 digits of account number L_ L L _X_ $_M
Nonpiiority Creditors Name
When was the debt incurred? 11 01 2012
P . O. Box 6 241
Number Street
- As of the date you file, the claim is: Check all that apply.
Sloux Fa||s SD 57117
city state zlP code 8 contingent
8 unliquidated
Who incurred the debt? Check one. a Dlspuled
8 Debtor1 only
E| Debtor2 only Type of NoNPRloRii'Y unsecured claim:
g Debtor1 and Debtor2 only n Student loans
At least one of the debtors and another 8 Obligations arising out of a separation agreement or divorce that
8 Check if this claim is for a community debt you d'd not report as prlomy c|_a'ms _ _
8 Debts to pension or profit-shann plans, and other similar debts
ls the claim subject to offset? m Other_ Specify Cred lt ard
8 No
8 Yes
4'8 - - ~ Last 4 digits of account number X X X X $519,00
Georqe Washinqton Unlversitv - _ _ - _
Nonpriority Creditor‘s Name
When was the debt incurred? 11 13 2016
900 23rd Street NW
Number Street
. As of the date you file, the claim is: Check all that apply.
Washinqton DC 20037
city state ziP code i;| Contingent
8 unliquidated
Who incurred the debt? Check one. n Disputed
8 Debtor1 only
8 Debtor 2 only Type of NONPR|OR|TY unsecured claim:
g Debtor1 and Debtor 2 only n Sludenl loans
At least one °fthe debtors and another 8 Obligations arising out of a separation agreement or divorce that
8 Check if this claim is for a community debt you d'd not reece as pnomy c|_a'ms _ _
8 Debts to pension or profit-sharing plans, and other similar debts
ls the claim subject to offset? m Other_ Specify Medlca| B|||$
8 No
8 Yes
1-9 La t4d' 'ts fa tn brX X X X $ 193.00
Comcast/XFlnltv s '9' ° °°°““ “"‘ ° _ - _ -
Nonprion`ty Creditors Name
When was the debt incurred? 02 01 2014
1500 Market Street
Number met As of the date you file the claim is ch k ali th tappi
. . , : ec a y.
Phi|adelphla PA 19102
city State zlP code E| Contingent
8 Unliquidated
Who incurred the debt? Check one, [;l Dlsputed
8 Debtor1 only
8 Debtor2 only Type of NONPR|OR|TY unsecured claim:
g Debtor1 and Debtor 2 only a Student loans
At least one of the debtors and another 8 Obligations arising out of a separation agreement or divorce that
8 Check if this claim is for a community debt you md not report as pn°nty cl_a'ms _ _
8 Debts to pension or profit-sharing plans, and other similar debts
ls the claim subject to offset? E Other_ Specify Cable Blll
8 No
8 Yes
Official Form 106EIF Schedule EIF: Creditors Who Have Unsecured Claims page § of£

 

Case19-11962 DOC1
Lourdes Maria Nunez

First Name Middle Name Last Name

Debtor 1

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Case number (irkncwn)

m Your NONPR|0R|TY Unsecured Claims - Continuation Page

 

 

 

5.0

 

 

Citicards CBNA

Nonpn`ori'ty Creditors Name

 

 

P.O.Box 6241
Number Street

Sioux Falls SD 57117
City State ZlP Code

Who incurred the debt? Check one.

m Debtor1 only

8 Debtor 2 only

8 Debtor 1 and Debtor 2 only

8 At least one of the debtors and another

8 Check if this claim is for a community debt

ls the claim subject to offset?

m No
8 Yes

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.

Last 4 digits of account number _)i _X _X _X

11107[2011

As of the date you file, the claim is: Check all that app|y.

When was the debt incurred?

8 Contingent
8 unliquidated
8 Disputed

Type of NONPR|OR|TY unsecured claim:

8 Student loans

8 Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

8 Debts to pension or profit-sharing plans, and other similar debts

8 Other.Specify Credit Card

Total claim .~

   

 

$ 7,911.00

 

Lendinci Club Corporation

Nonpiiority Creditors Name

71 Stevenson St, Suite 300

 

 

Last 4 digits of account number L_ _)$ l _)$

'|[06[20‘|6

When was the debt incurred?

 

$11¢958.00

 

 

 

 

 

 

 

 

 

Number Street As of the date you file the claim is Check all th tappl
. , : a y.
San Franclsco CA 94105
city stale ziP code E| Contingent
8 unliquidated
Who incurred the debt? Check one. n Disputed
m Debtor1 only
8 Debtor2 only Type of NoNPRloRlTY unsecured claim:
g Debtor1 and Debtor 2 only n Student loans
At least one °f the debtors and another 8 Obligations arising out of a separation agreement or divorce that
8 Check if this claim is for a community debt you d'd not report as pm_mty c|a'ms _ _
8 Debts to pension or profit-sharing plans, and other similar debts
ls the claim subject to offset? E other specify Unsecu red Loan
8 No
8 Yes
‘5'2 L t4d' 'ts f b X X X X $__2901`00
Mohela/Department of Education as 'g' ° a°°°""t'“"“ °' - _ _ _
Nonpriority Creditors Name
. . . When was the debt incurred? 03[01[2012
633 Spirit Drive
Number St'ee‘ As cf the date you file the claim is ch kail th t ppi
, , : ec a a y.
Chesterfleld MO 63005
city state ziP code E| Contingent
_ 8 Unliquidated
Who incurred the debt? Check one. a Disputed
8 Debtor1 only
8 Debtor 2 only Type of NONPR|OR|TY unsecured claim:
g Debtor1 and Debtor 2 only m Student loans
At least one of the debtors and another 8 Obligations arising out of a separation agreement or divorce that
8 Check if this claim is for a community debt you d'd not report as pnonty c|_a'ms _ _
8 Debts to pension or profit-sharing plans, and other similar debts
ls the claim subject to offset? E| Other_ Specify
m No
8 Yes
omcial Form ier/F schedule E/F: creditors who Have unsecured claims page § ofL

 

 

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Debtor1 LOUFd€S Maria Nunez Case number (irl<nown)

First Name Middle Name Last Name

mm NONPR|OR|TY Unsecured Claims - Continuation Page

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.

 

 

 

 

 

 

 

 

 

 

 

 

 

5.3 - - X X X X
We"$ Farqo Card Services Last4diglts of account number _ _ _ _ $M
Nonpriority Creditors Name
When was the debt incurred? 11/01/201 2
P.O. Box14517
Number Street
_ As of the date you file, the claim is: Check all that apply.
Des Molnes lA 50306
City State ZlP Code 8 Contingent
8 unliquidated
Who incurred the debt? Check one. cl Disputed
m Debtor1 only
8 Debtor 2 only Type of NONPR|OR|TY unsecured claim:
8 Debtor1 and Debtor 2 only n Student loans
a At least one °f the debtors and another 8 Obligations arising out of a separation agreement or divorce that
8 Check if this claim is for a community debt you d'd not report as pnc_mty c|:‘"ms _ _
8 Debts to pension or profit-sharing plans, and other similar debts
ls the claim subject to offset? m Other_ Specify Cred|t Ca|'d
8 No
8 Yes
§§ - X X X x 1,325 oc
American Express Last4 digits of account number __ _ _ _ $ .
Nonpn'on'ty Creditors Name
When was the debt incurred? 3 20 2014
P.O. Box 981537
Number Street
As of the date you file, the claim is: Check all that app|y.
El Paso TX 79998
City State ZlP Code n Contingent
8 unliquidated
Who incurred the debt? Check one. n Disputed
8 Debtor1 only
8 Debtor 2 only Type of NONPR|OR|TY unsecured claim:
8 Debtor1 and Debtor 2 only n Student loans

n At least one of the debtors and another 8 Obligations arising out of a separation agreement or divorce that

you did not report as priority claims

8 Check if this claim is for a community debt . _ _ _ _
8 Debts to pension or profit-sharing plans, and other similar debts

 

 

ls the claim subject to offset? m Other`$pecify Credit Card
8 No
8 Yes
5. l
j State Farm Bank Lasf4digits ofaccount number X_ _)£ l(_ _)i $-_'_2 826 00

 

Nonprion`ty Creditor's Name

P°O- Box 2313 When was the debt incurred? 9106[201\3

 

 

Number Street A fth d t f'| th | ' ' ~ Ch k l|th t |
B|oominqton |L 61702 so e aeyou ie, ecaimis. ec a a appy.
City State ZlP Code n Contingent

8 unliquidated
Who incurred the debt? Check one. m Disputed
8 Debtor1 only
8 Debtor2 only Type of NONPR|OR|TY unsecured claim:

8 Debtor 1 and Debtor2 only

8 Student loans
8 At least one of the debtors and another

8 Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

8 Check if this claim is for a community debt _ . _ _ _
8 Debts to pension or profit-sharing plans, and other similar debts

 

 

 

 

ls the claim subject to offset? m Other_ Specify Credit Ca rd
8 No
8 Yes
omcial Form ter/F schedule ElF: creditors who Have unsecured claims page 7_ ofL)

 

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Case number (ifl<nown)

Case19-11962 DOC1
Lourdes Maria Nunez

First Name Middle Name Last Name

Debtor 1

List Others to Be Notified About a Debt That You A|ready Listed

 

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For

 

examp|e, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or

2, then list the collection agency here. Similarly,

if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the

additional creditors here. lf you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

Resurqent Capital Services

 

 

 

 

On which entry in Part 1 or Part 2 did you list the original creditor?

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Name
p 0 Box 1269 l_ine 4.1 of (check one): 8 Part1: creditors with Priority unsecured claims
Num°e' Street JZ| Part 2: creditors with Nonpriority unsecured claims
_ Last 4 digits of account numberX_ l _)£ _X
Greenvllle SC 29602
City State ZlP Code
Calvary Portfolio Service on which entry in Part 1 or Part 2 did you list the original creditor?
Name
500 Summit Lake Drive Line 4.2 of (Check one): 8 Pari1: creditors with Priority unsecured claims
Number S"ee‘ 8 Part 2: Creditors with Nonpriority Unsecured
Suite 400 Claims
_ Va|ha"a NY 10595 Last4 digits of account numberl _X _X _X_
City State ZlP Code
Portfolio Recovery on which entry in Part 1 or Part 2 did you list the original crediton
Name
120 Corporate Boulevard Line 4.3 of (Check one): 8 Part1: Creditors with Priority Unsecured Claims
Number Street 8 Part 2: Creditors with Nonpriority Unsecured
Suite 100 C'a'ms
Norfolk VA 23502 Last 4 digits of account numberL _X _)i L
City State ZlP Code
EOS CCA On which entry in Part 1 or Part 2 did you list the original creditor?
Name
p_o_ Box 981008 Line 4.4 of (Check one): 8 Part1: Creditors with Priority Unsecured Claims
Number S“ee' 8 Part 2: Creditors with Nonpriority Unsecured
Claims
_Boston MA 02298 Last4 digits of account numberL _X_ _L l_
City State ZlP Code
CalVal'y POrthliO Se rViCe On which entry in Part 1 or Part 2 did you list the original creditor?
Name
500 Summit Lake Drive Line 4»5 of (Check one): 8 Part 1: Creditors with Priority Unsecured Claims
N“m°e’ S"e"'" 8 Part 2: Creditors with Nonpriority Unsecured
Suite 400 Claims
Va|ha"a NY 10595 Last 4 digits of account numberX_ _)§_ L X_
city state zlP code
lC System on which entry in Part 1 or Part 2 did you list the original creditor?
Name
p_O_ Box 64378 Line 4.6 of (Check one): 8 Part 1: Creditors with Priority Unsecured Claims
Number S"ee‘ 8 Part 2: Creditors with Nonpriority Unsecured
Claims
St- paul MN 55164 Last 4 digits of account numberX_ L L L
City State ZlP Code
Rg:tfoho Recovery On which entry in Part 1 or Part 2 did you list the original creditor?
120 Corporate Boulevard Line 4-7 of (check one): 8 Part 1; creditors with Priority unsecured claims
N ne str t
um r_ ea 8 Part 2: creditors with Nonpriority unsecured
Suite 100 claims
CityNorfolk S\;£ z"z,§g?z Last4 digits of account number l _)_( _X _X

 

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

 

 

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Case 19-11962 DOC 1 Filed 02/15/19 Page 44 Of 57
Debtor1 LOUrdeS Maria NUneZ Case number(irl<hown)

First Name Middle Name Last Name

mist Others to Be Notified About a Debt That You Already Listed

5. Use this page only lf you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For

example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
additional creditors here. lf you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Aa rCtOl'i AqenCV lnC. On which entry in Part1 or Part 2 did you list the original creditor?
Name
3025 W Sahara Llne 4.8 of (Check one): 8 Part 1: Creditors with Priority Unsecured Claims
Number Street 8 Part 2: Creditors with Nonpriority Unsecured Claims
Last 4 digits of account numberL _X _X _X
Las vean NV 89102
City State ZlP Code
Southwest Credit Svstems LP on which entry in Part 1 or Part 2 did you list the original creditor?
Name
4120 international parkway Line 4.9 of (Check one): 8 Part 1: Creditors with Priority Unsecured Claims
Number S"ee* 8 Part 2: Creditors with Nonpriority Unsecured
#1100 Claims
_ Carro"ton TX 75007 Last4 digits of account number_)$ _X_X_X
City State ZlP Code
DSNB/|\/|acy'$ On which entry in Part1 or Part 2 did you list the original creditor?
Name
p_O_ Box 8218 Line 5-0 of (Check one): 8 Part1: Creditors with Priority Unsecured Claims
Number Street 8 Part 2: Creditors with Nonpriority Unsecured
Claims
MBSOD OH 45050 Last 4 digits of account numberL l _X _)S
city state zlP code
Velocity lnvestments LLC on which entry in Part1 or Part 2 did you list the original creditor?
Name
1800 Rt_ 3 4 Line 5-1 of (Check one): 8 Part 1: Creditors with Priority Unsecured Claims
Number Street 8 Part 2: Creditors with Nonpriority Unsecured
N. BLDG - #404A C'a'ms
Wa" NJ 07719 Last 4 digits of account numberL L L _X_
City State ZlP Code

 

On which entry in Part 1 or Part 2 did you list the original creditor?

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Name
Line of (Check one): 8 Part 1: Creditors with Priority Unsecured Claims
Number S"e°' 8 Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of account number__ _ _ __
city state zlP code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): 8 Part 1: Creditors with Priority Unsecured Claims
Number S“eef 8 Part 2: creditors with Nonpriority unsecured
Claims
Last 4 digits of account number_ _ _ _
City State ZlP Code
Name On which entry in Part 1 or Part 2 did you list the original creditor?
Line of (Check one): 8 Part 1: Creditors with Priority Unsecured Claims
Number Street . . .
8 Part 2: Creditors with Nonpriority Unsecured
Claims
City state ZlP Code Last 4 digits of account number __ _ _ _
Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page g of_19

 

 

Case 19-11962 DOC 1 Filed 02/15/19 Page 45 Of 57
Debtor1 LOUI'deS Maria Nunez Case number(lrknown)

First Name Middle Name Last Name

mdd the Amounts for Each Type of unsecured Claim

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes on|y. 28 U.S.C. § 159.
Add the amounts for each type of unsecured claim.
Total claim
Total claims 6a. Domestic support obligations 6a. $ 0
from Part 1 6b. Taxes and certain other debts you owe the
government 6b. $ 0
6c Claims for death or personal injury while you were
intoxicated 60. 0
$
6d. Other. Add all other priority unsecured claims.
Write that amount here. 6d. + $ 0
6e. Total. Add lines 6a through 6d. 6e.
$ 0
Total claim
Total claims 6f. Student loans 6f. $ 2 901_00
fr°m Part 2 69. Obligations arising out of a separation agreement
or divorce that you did not report as priority
claims og. $ 0
6h. Debts to pension or profit-sharing plans, and other
similar debts 6h. $ 0
6i. Other. Add all other nonpriority unsecured claims.
Write that amount here. 61. + $ 47, 544.00
6j. Total. Add lines 6f throu h 6i. 6j.
g s 50,445.00
Official Form 106E/F Schedule ElF: Creditors Who Have Unsecured Claims page@ of 2

 

 

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Fill in this information to identify your case:

Debtor Lourdes Maria Nunez

First Name Middle Name Last Name

Debtor 2
(Spouse lf tiling) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: District of Ma r 2 la nd

 

?i?§fo$`n’)m°e' El check if this is an
amended filing

 

 

Official Form 1066
Schedule G: Executory Contracts and Unexpired Leases 12/15
Be as complete and accurate as possible. lf two married people are filing together, both are equally responsible for supplying correct

information. |f more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

 

1. Do you have any executory contracts or unexpired |eases?
E No. Check this box and tile this form with the court with your other schedules You have nothing else to report on this form.
Cl Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B.' Property (Official Form 106A/B).

2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
example, rent, vehicle |ease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
unexpired |eases.

 

 

 

Person or company with whom you have the contract or lease State what the contract or lease is for
Name

Number Street

City State ZlP Code

 

 

 

 

 

 

 

 

Name

Number Street

City State ZlP Code
2.3'

Name

Number Street

 

State Z|P Code

 

 

 

Name

 

Number Street

 

City State ZlP Code
2.§5

Name

 

 

Number Street

 

 

City State ZlP Code

Official Form 106G Schedule G: Executory Contracts and Unexpired Leases page 1 of _1_

 

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Fill in this information to identify your case:

Debtor1 Lourdes Maria Nunez

First Name Middle Name Last Name

Debtor 2
(Spouse, if tiling) First Name Middle Name Lesi Name

 

United States Bankruptcy Court for the: District of Mary land

Case number
( if known)

 

 

El check if this is an
amended filing

 

Official Form 106H
Schedule H: Your Codebtors 12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. lf two married people
are filing together, both are equally responsible for supplying correct information. lf more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

 

 

1. Do you have any codebtors? (lf you are filing a joint case, do not list either spouse as a codebtor.)

E No
El Yes

2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
Arizona, California, ldaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Vlhsconsin.)

cl No. Go to line 3.
El Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
Cl No

n Yes. ln which community state or territory did you |ive? . Fill in the name and current address of that person,

 

Name of your spouse, fenner spouse, or legal equivalent

 

Number Street

 

City State ZlP Code

3. ln Co|umn 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
Schedule D (Official Form 1060), Schedule E/F (Official Form 106EIF), or Schedule G (Official Form 1066). Use Schedule D,
Schedule E/F, or Schedule G to fill out Co|umn 2.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Column 1: Your codebtor Column 2.' The creditor to whom you owe the debt
Check all schedules that apply:
3.1
El Schedule D, line
Name _
El Schedule E/F, line _
Number Street Cl Schedule G, line
City State ZlP Code
3.2
El schedule D, line __
Name
l;l Schedule E/F, line
Number Street El Schedule G, line
City State ZlP Code
3.3
El Schedule D, line
Name _
El Schedule E/F, line _
Number Street El Schedule G, line
City State ZlP Code

 

 

 

 

Official Form 106H Schedule H: Your Codebtors page 1 of 1_

 

 

 

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Fill in this information to identify your case:

Debtor1 Lourdes Maria Nunez

First Name Middle Name Last Name

Debtor 2
(Spouse, if tillng) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: District of M a I`V| a l'l d

Case number CheCk if this iSZ
(|fl<nown)
El An amended ming

l:l A supplement showing postpetition chapter 13
income as of the following date:

OfflCial FOl'm 1061 m
Schedule l: Your lncome 12115

Be as complete and accurate as possible. |f two married people are filing together (Debtor1 and Debtor 2), both are equally responsible for
supplying correct information. lf you are married and not filing joint|y, and your spouse is living with you, include information about your spouse.
lf you are separated and your spouse is not filing with you, do not include information about your spouse. lf more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

mDescribe Employment

1. Fill in your employment
information. Debtor 1 Debtor 2 or non-filing spouse

 

 

 

lf you have more than one job,

 

 

 

attach a separate page with
information about additional Employment status El Employed a Employed
employers. m Not employed Cl Not employed
lnclude part-time, seasonal, or
self-em lo ed work.
p y occupation lndependent Contractor
Occupation may include student
or homemaker, if it applies.
Employer’s name Ubel’
Employers address 1455 Marl<ei st.
Number Street Number Street
#400

 

 

San Francisco CA 94103
City State ZlP Code City State ZlP Code

How long employed there? 1 iir.

mjive Details About Monthly lncome

Estimate monthly income as of the date you file this form. lf you have nothing to report for any line, write $0 in the space. lnclude your non-filing
spouse unless you are separated.

lf you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
below. lf you need more space, attach a separate sheet to this form.

 

For Debtor 1 For Debtor 2 or
non-filing spouse

2. List monthly gross wages, salary, and commissions (before all payroll

 

 

deductions). lf not paid monthly, calculate what the monthly wage would be. 2. $ 0 $ 2 000 00
3. Estimate and list monthly overtime pay. 3. + $ O + $ 0
4. calculate gross income. Add line 2 + line 3. 4. $ 0 s 2,000.00

 

 

 

 

 

 

 

Official Form 106| Schedule |: Your lncome page 1

 

 

 

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Debtor1 LOUFC|€S Maria Nunez Case number <irknown)
First Name Middle Name Last Name
For Debtor 1 For Debtor 2 or
ngn-fi|ing sggg§§
Copy line 4 here ............................................................................................... ') 4. $O_ $M
5. List all payroll deductions:
5a. Tax, Medicare, and Social Security deductions 5a. $ O $ 0
5b. Mandatory contributions for retirement plans 5b. $ 0 $ 0
5c. Voluntary contributions for retirement plans 50. $ 0 $ 0
5d. Required repayments of retirement fund loans 5d. $ 0 $ 0
5e. insurance 5e. $ 0 $ 0
5f. Domestic support obligations 5f. $Q $ 0
5g. Union dues 59. $ 0 $ 0
5h. other deductions speeify; None 5h, + $ 0 + $ 0
6. Add the payroll deductions. Add lines 5a + 5b + 50 + 5d + 5e +5f + 59 + 5h. 6. $ 0 $ O
7. Ca|culate total monthly take-home pay. Subtract line 6 from line 4. 7 $ 0 $ 2,000.00
8. List all other income regularly received:
8a. Net income from rental property and from operating a business,
profession, or farm
Attach a statement for each property and business showing gross
receipts, ordinary and necessary business expenses, and the total $ 0 $ 0
monthly net income. 8a.
sb. interest and dividends 8b. $ 0 $ 0
8c. Family support payments that you, a non-filing spouse, or a dependent
regularly receive
lnclude alimony, spousal supporl, child supporl, maintenance, divorce $ 500_00 $ 0
settlement and property settlement. 80.
8d. unemployment compensation 8d. $ 0 $ 0
8e. Social Security 8e. $ O $ O
Bf. Other government assistance that you regularly receive
lnclude cash assistance and the value (if known) of any non-cash assistance
that you receive, such as food stamps (beneits under the Supplemental
Nutrition Assistance Program) or housing subsidies
Specify: None 8f. $ 0 $ 0
89. Pension or retirement income 89. $ O $ O
sh. other monthly income speeify; None ah. + $ 0 + $ 0
s. Add all other income Add lines 8a + ab + ao + ad + se + ar +ag + ah. 9. $ 500.00 $ 0
10.Ca|culate monthly income. Add line 7 + line 9. _
Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse. 10. $ 500'00 + $ 2'000'00 _ $ 2'500'00
11. State all other regular contributions to the expenses that you list in Schedule J.

lnclude contributions from an unmarried partner, members of your household, your dependents, your roommates, and other

friends or relatives.

Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

speoiry: None 11. + $ 0

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.

Write that amount on the Summary of YourAssets and Liabi//'tr'es and Certain Statistical lnformation, if it applies 12. $M
Combined
monthly income

13. Do you expect an increase or decrease within the year after you file this form?
E No.
Cl Yes. Explain:
Official Form 106| Schedule l: Your lncome page 2

 

 

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Fill in this information to identify your case:

Lourdes Maria Nunez . . .
Debtor 1 First Name Middle Name LastName Check if thls |S:

Debtor2 Cl An amended filing

(Spouse, if filing) FirstName Middle Name LastNarne
El A supplement showing postpetition chapter 13
United States Bankruptcy Court for the: District of Mary|and expenses as of the following datei

 

c(:lfal:r?ol?v:)mber MM / DD/ YYYY

 

 

 

Official Form 106J
Schedule J: Your Expenses 12115

Be as complete and accurate as possible. |f two married people are filing together, both are equally responsible for supplying correct
information. lf more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

m Describe Your Household

1. ls this a joint case?

 

 

8 No. Go to line 2.
El Yes. Does Debtor 2 live in a separate household?

Cl No
El Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

 

 

 

 

 

 

 

 

2. Do you have dependents? E| No
Dependent’s relationship to Dependent’s Does dependent live
Do not list Debtor1 and N Yes. Fill out this information for Debtor1 or Debtor 2 age with you?
Debtor 2. each dependent .......................... cl
Do not state the dependents’ DaUqhtel‘ 2 mOS m No
names. Yes
son 2 C' NO
m Yes
Dauqhter 7 n N°
m Yes
Son 14 m N°
E Yes
n No
El Yes
3. Do your expenses include x No

expenses of people other than cl
yourself and your dependents? Yes

m Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. |f this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

 

lnclude expenses paid for with non-cash government assistance if you know the value of

 

such assistance and have included it on Schedule l: Your lncome (Official Form 106|.) Y°L"' expenses
..-~........._...................._.....“.....
4. The rental or home ownership expenses for your residence, lnclude first mortgage payments and 0
any rent for the ground or lot. 4. $

|f not included in line 4:

 

 

 

4a. Real estate taxes 4e. $ 0
4b. Property, homeowner’s, or renter’s insurance 4b. $ 0
4c. Home maintenance, repair, and upkeep expenses 4c. $ 0
4d. Homeowner association or condominium dues 4d. $ 0
Official Form 106J Schedule J: Your Expenses page 1

 

 

Debtor1 Lourdes Maria Nunez
First Name Middle Name Last Name
5. Additional mortgage payments for your residence, such as home equity loans
6. Utilities:
6a. Electricity, heat, natural gas
6b. Water, sewer, garbage collection
6e. Telephone, cell phone, internet, satellite, and cable services
sd. other. Specify: None
7. Food and housekeeping supplies
e. Childcare and children’s education costs
9. C|othing, laundry, and dry cleaning
10. Personal care products and services
11. Medica| and dental expenses
12. Transportation. lnclude gas, maintenance, bus or train fare.
Do not include car payments.
13. Entertainment, clubs, recreation, newspapers, magazines, and books
14. Charitable contributions and religious donations
15. lnsurance.
Do not include insurance deducted from your pay or included in lines 4 or 20.
15a. Life insurance
15b. Health insurance
15a. Vehicle insurance
15d. Other insurance Specify: NOl'l€
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
speciry: None
17. lnstal|ment or lease payments:
17a. Car payments for Vehicle 1
17b. Car payments for Vehicle 2
17c. Other. Specify:
17d. Other. Specify:
18. Your payments of alimony, maintenance, and support that you did not report as deducted from
your pay on line 5, Schedule I, Your lncome (Official Form 106|).
19. Other payments you make to support others who do not live with you.
Specify: NOl‘l€
20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your lncome.

Official Form 106J

Case 19-11962 Doc 1

 

 

 

 

 

 

 

20a. Mortgages on other property

20b. Real estate taxes
20e. Property, homeowners or renter’s insurance
20d. Maintenance, repair, and upkeep expenses

20e. Homeowner’s association or condominium dues

Schedule J: Your Expenses

Case number (iri<nown)

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6a.
6b.
GC.
6d.
7.
8.
9.
10.

11.

12.

13.

15a.

15b.

15d.

16.

17a.
17b.
17c.

17d.

18.

19.

20a.
20b.
20c.
20d.

20e.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Your expenses
$ 0

$ 225.00
$ 50.00
$ 200.00
$ 0

$ 700.00
s 100.00
$ 200.00
$ 150.00
$ 0

$ 80.00
$ 50.00
$ 50.00
$ 0

$ 0

$ 200.00
$ 0

$ 0

s 0

$ 0

$ 0

$ 0

$ 0

$ 0

$ 0

$ 0

$

l

 

 

page 2

 

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Debtor1 LOUrdeS Maria NUI'leZ Case number (ifkrrowri)

First Name Middle Name Last Name

21. other speeify; None

22. Ca|cu|ate your monthly expenses.
22a. Add lines 4 through 21.
22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2

22c. Add line 22a and 22b. The result is your monthly expenses.

23. Ca|culate your monthly net income.

23a. Copy line 12 (your combined monthly income) from Schedule l.

23b. Copy your monthly expenses from line 220 above.

23c. Subtract your monthly expenses from your monthly income.
The result is your monthly net income.

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

For example, do you expect to finish paying for your car loan within the year or do you expect your
mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

a No.

21.

22a.

22b.

22c.

23a.

23b.

23c.

+$ 0

 

 

$ 2,005.00

$O

$ 2,005.00

 

$ 2i500.00

-$ 2,005.00

 

 

$ 495.00

 

 

Cl YeS. Explain here:

 

 

Official Form 106J Schedule J: Your Expenses

 

page 3

 

 

 

Case 19-11962 DOC 1 Filed O2/15/19 Page 53 Of 57

Fill in this information to identify your case:

Debtor1 Lourdes Maria Nunez

First Name Middle Name Last Name

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: District of Maryland

Case number
(lf known)

 

n Check if this is an
amended filing

 

 

Official Form 106Dec
Declaration About an individual Debtor’s Schedules wis

|f two married people are filing together, both are equally responsible for supplying correct information.

 

You must tile this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or

obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

-Sign Be|ow

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

ClNo

a Yes. Name of person SharOn AV€|'V . Attach Bankruptcy Petition Preparefs Notice, Dec/ara!ion, and

Signature (Official Form 119).

Under penalty of perjury, l declare that l have read the summary and schedules filed with this declaration and
that they are true and correct.

  

X

Signature of Debtor 2

 

 

 

 

C/
ignature of Deb' r1

Date
MM/ DD / YYYY

 

Official Form 106Dec Dec|aration About an individual Debtor’s Schedules

 

 

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United States Bankruptcy Court gi
District of Maryland win §§ \"‘5 hit

 

q n f ,_\‘1} :1 kr:
ing § tS‘F";: G§. `i;~\§lx`¥
IHR€f Lourdes Maria Nunez Casé`i!%u§'l § "‘ii*§

Debtor(s) Chapter: 7

VERIFICATION OF CREDITOR MATRIX

The above named Debtors hereby verify that the attached list of creditors is true and correct to the best oftheir
knowledge.

Datef OQ//L///? Signature ofDebtor(s): ;:/

 

 

Case 19-11962 Doc 1

Lourdes Maria Nunez

Aargon Agency lnc.
3025 W Sahara
Las Vegas, NV 89102

American Express
P.O. Box 981537
El Paso, TX 79998

ATT Mobl|ity
P.O. Box 536216
At|anta, GA 30353

Calvary Portfolio Services
500 Summit Lake Drive
Suite 400

Valhalla, NY 10595

Citibank NA
P.O. Box 6241
Sioux Falls, SD 57117

Citicard CBNA
P.O. Box 6241
Sioux Fa|ls, SD 57117

Comcast/XFinity
1500 Market Street
Philadelphia, PA 19102

DSNB/Macy's
P.O. Box 8218
Mason, OH 45050

EOS CCA
P.O. Box 981008
Boston, MA 02298

George Washington University
900 23rd Street, NW
Washington, D.C. 20037

lC System
P.O. Box 64378
St. Paul, MN 55164

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Lending C|ub Corporation
71 Stevenson Street
Suite 300

San Francisco, CA 94105

Mode|s/Department of Education
633 Spirit Drive
Chesterfield, MO 63005

One Main Financial
6801 Colwell Boulevard
lrving, TX 75039

Portfolio Recovery

120 Corporate Boulevard
Suite 100

Norfo|k, VA 23502

Resurgent Capital Services
P.O. Box 1269
Greenvllle, SC 29602

Southwest Credit Systems LP
4120 international Parkway
#1100

Carrol|ton, TX 75007

State Farm Bank
P.O. Box 2313
Bloomington, lL 61702

Synchrony Bank
P.O. Box 965036
Orlando, FL 32896

Synchrony Bank
P.O. Box 965015
Orlando, FL 32896

Velocity investments LLC.
1800 Rt. 34

N. BLDG 4 - #404

Wall, NJ 07719

Verizon
P.O. Box 4830
Trenton, NJ 08650

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Wells Fargo Card Services
P.O. Box 14517
Des Molnes, lA 50306

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